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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

Civil Action No. 17-cv-02789-KLM (Consolidated with Civil Action No. 17-cv-02848-STV)

PETER VOULGARIS,
WENDELL ROSE, and
ROBERT NAUMAN,

      Plaintiffs,

v.

ARRAY BIOPHARMA INC.,
RON SQUARER,
VICTOR SANDOR, and
JASON HADDOCK,

      Defendants.



 CONSOLIDATED CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL
              SECURITIES LAWS AND JURY TRIAL DEMAND




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       Dated: April 26, 2018                        Attorneys for Plaintiffs
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        Plaintiff Wendell Rose and Lead Plaintiff Peter Voulgaris (“Plaintiffs”), individually and

on behalf of all other persons similarly situated, by his undersigned attorneys, alleges in this

Amended Complaint (the “Complaint”) the following upon knowledge with respect to their own

acts, and upon facts obtained through an investigation conducted by their counsel, inter alia: (a)

review and analysis of relevant filings made by Array Biopharma, Inc. (“Array”) with the United

States Securities and Exchange Commission (the “SEC”); (b) review and analysis of the

defendants’ public documents, press releases, and television interviews; (c) review and analysis of

securities analysts’ reports and advisories concerning Array; and (d) information obtainable on the

internet.

        Plaintiffs believe that further substantial evidentiary support will exist for the allegations

set forth herein after a reasonable opportunity for discovery. Most of the facts supporting the

allegations contained herein are known only to the defendants or are exclusively within their

control.

                                     NATURE OF ACTION

        1.     This is a federal securities class action on behalf of a class consisting of all persons

who acquired Array securities between June 30, 2016 and March 17, 2017, inclusive (the “Class

Period”), seeking to recover damages caused by Defendants’ violations of the federal securities

laws (the “Class”). Defendants in this case include Ron Squarer (“Squarer”), Victor Sandor

(“Sandor”), and Jason Haddock (“Haddock”) (collectively, the “Individual Defendants”) (the

Individual Defendants together with Array, “Defendants”). Squarer, Sandor, and Haddock served

as Array’s Chief Executive Officer, Chief Medical Officer, Chief Operating Officer, and Chief

Financial Officer during the Class Period, respectively.

        2.     Array is a biopharmaceutical company focused on the discovery, development, and

commercialization of targeted small molecule drugs to treat patients afflicted with melanoma skin

cancer. This case focuses on one of Array’s drug candidates and, importantly, Defendants’


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statements about the clinical trial Array conducted in support of Array’s New Drug Application

(“NDA”) for the drug candidate. The particular drug candidate at issue is binimetinib (MEK162).

The clinical trial that Defendants discussed during the Class Period was a Phase 3 trial referred to

as “NEMO”.

       3.      By way of background, the U.S. Food and Drug Administration (“FDA”) oversees

all biopharmaceutical development and commercialization in the United States. A company must

provide a significant amount of data to the FDA in order to receive approval to market a drug to

the general population. The data provided to the FDA is most often generated from pre-clinical

and clinical trials. This data is submitted to the FDA along with a NDA. A company may market

its drug only if the FDA accepts and approves the NDA. Given that many biopharmaceutical

companies do not generate revenue unless and until they can market their drugs, the NDA-approval

process represents one of the most important moments in the life of a biopharmaceutical company.

       4.      Array submitted an NDA to the FDA for binimetinib on June 30, 2016. In support

of the NDA, Array relied upon data obtained from its NEMO Phase 3 clinical trial. Array publicly

described this data as being positive in terms of the prospects for FDA approval. The “primary

endpoint” for the NEMO trial (which is the key measure by which the company measures the

effectiveness of the drug) was “progression-free survival” or “PFS” (the number of months a

patient survived without progression of their melanoma). Following the completion of the NEMO
study, Array repeatedly told investors that binimetinib had shown an improvement in PFS as

compared with NEMO’s control arm, dacarbazine (an approved, traditional chemotherapy

medication).

       5.      Unbeknownst to investors, however, Defendants knew that the NEMO trial data

posed a significant and grave risk that the FDA would not approve the NDA (despite meeting the

study’s primary endpoint). Evidence acquired from the European Medicines Agency shows that

binimetinib was barely more effective versus approved drugs already on the market. Moreover,


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evidence shows that the quality of life during the brief period of “progression free survival” was

drastically poor.

       6.      Evidence also shows that binimetinib proved far more beneficial to patients who

had received prior treatment with an immunotherapy (“IO”) as opposed to those who had not (or

were “treatment naïve,” as Array referred to them). The following chart, which originates from a

presentation by Reinhard Dummer, M.D. (one of Array’s clinical investigators), shows the

differences in PFS across the two patient populations (or stratum):




       7.      For patients with prior immunotherapy treatment, binimetinib resulted in a median

PFS of 5.5 months, compared with 2.8 months for patients without prior immunotherapy. In other

words, binimetinib worked almost twice as well for patients with prior immunotherapy than

without.

       8.      Defendants knew that the NEMO data presented an obstacle for FDA approval of

binimetinib, at least when considering the entire patient population data. Consequently,


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Defendants decided to pursue approval from the FDA based upon a subgroup of patient data

comprised of data from patients who had previously received treatment with immunotherapy only,

i.e., Defendants attempted to informally change the indication of binimetinib from a broad patient

population to a more narrow one defined by prior immunotherapy treatment.

       9.      This was a significant problem. Section 314.60 of Title 21 of the Code of Federal

Regulations is titled “Amendments to an unapproved NDA, supplement, or resubmission.” In

pertinent part, the regulation states that the “FDA generally assumes that when an original NDA .

. . is submitted to the Agency for review, the applicant believes that the Agency can approve the

NDA . . . as submitted.” And, while an applicant “may submit an amendment to an NDA . . . that

has been filed . . . but is not yet approved,” amendments are not permitted to change the intended

indication for a drug after submission of the NDA.

       10.     The implication of what Defendants did was that Array’s NDA for binimetinib was

that the probability of the FDA approving Array’s NDA was exceedingly low. Indeed, after

meeting with the FDA to discuss the NDA on March 17, 2017, Array announced that they were

withdrawing the NDA on March 19, 2017.

       11.     In light of the truth behind the NEMO data and the binimetinib NDA, Defendants’

statements during the Class Period were materially misleading. For example, on June 30, 2016,

when Array announced that it filed the binimetinib NDA, Defendant Squarer addressed the results
from the “pre-specified sub-group of patients who had received prior treatment with

immunotherapy.” Squarer told investors that, while the results for this subgroup were “of interest,

interpretation beyond overall consistency with the primary result should be made with care” and

that “Array anticipate[d] that the primary consideration for marketing approval [would] be the

results for the primary endpoint of the trial.” This was not true. In fact, the data from the NEMO

trial suggested that binimetinib was not suitable for approval, except when considering the data

from the prior-immunotherapy subgroup. In light of this, Defendants were attempting to obtain


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approval of binimetinib for a patient indication different than what was initially stated; specifically,

Defendants attempted to obtain approval of binimetinib for use by prior-immunotherapy patients

only. This tactic was highly improper under FDA regulation and all but guaranteed that the FDA

would reject the NDA.

       12.     Not only do FDA regulations prohibit changing the indication of a drug after

submission of an NDA, but the FDA has never approved a drug on the basis of a subgroup analysis.

To obtain approval for this modified indication, Array would have had to resubmit the application

with new data from a standalone post-IO trial. Accordingly, by concealing their intentions with

respect to the binimetinib NDA, Defendants hid from investors that the NDA was in all

likelihood not going to be approved by the FDA.

       13.     Plaintiffs’ lawsuit seeks to recover damages caused by what Defendants did.

Throughout the Class Period, Defendants told the public that the NDA for binimetinib had been

submitted with the support of complete NEMO data for both the treatment naïve and post-IO

subgroups. However, these statements concealed the truth that Defendants either: (i) did not intend

for the NDA to be approved when they submitted it to the FDA; or (ii) they were hoping that the

FDA would approve the NDA for an indication that was different than the one initially stated

(based upon a review of the prior immunotherapy subgroup). In either event, Defendants’

statements about the binimetinib NDA were materially misleading because they concealed from

investors a number of then-existing facts that all suggested that the risk of FDA disapproval

was much greater than they let on. Given the implications of this strategy, Plaintiffs had a right

to know this information so that they could have accurately evaluated the risks associated with

Array’s NDA and buying Array’s stock in general.

       14.     On Sunday, March 19, 2017, the public discovered what Array had attempted to do

and, importantly, that Defendants had been lying to them over the course of the Class Period. Array

disclosed in a press release that it had withdrawn its NDA for binimetinib.


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       15.     Array’s press release was followed by an article published on Endpoints News on

March 20, 2017, before the market opened (updated March 21, 2017), titled “Array walks back its

FDA pitch on binimetinib, derailing plans for commercial launch.” This article discussed how

analysts from major investment banks were displeased with Array’s announcement that the clinical

benefits shown in the Phase 3 Nemo clinical trial would not be sufficient to support approval of

the NDA for binimetinib. As emphasized in the article, the announcement was in stark contrast

with Array’s public statements during 2016.

       16.     In response to the disclosures about Array’s NDA for binimetinib, the price of

Array’s common stock fell precipitously from $10.56 per share to $9.13 per share over the course

of two trading days (between March 17 and March 21, 2017). Array lost more than $240 million

in market capitalization during this short period.

       17.     Plaintiffs and other similarly situated investors in Array lost significant amounts of

money by buying their shares at artificially inflated prices during the Class Period. Had the public

known the truth about the NDA for binimetinib, the price of Array’s stock would have been less

and, as a result, these investors would not have overpaid for their shares.

       18.     For the reasons set forth herein, Defendants are liable to Plaintiffs under the

Securities Exchange Act of 1934, Sections 10(b) and 20(a) [15 U.S.C. §§78j, 78t], and SEC Rule

10b-5(b) [17 CFR 240.10b-5].
                                 JURISDICTION AND VENUE

       19.     The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act [15 U.S.C. §§78j(b) and 78t(a)] and SEC Rule 10b-5 promulgated thereunder

by the SEC [17 C.F.R. §240.10b-5].

       20.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §1331 and Section 27 of the Exchange Act [15 U.S.C. §78aa].

       21.     Venue is proper in this District pursuant to Section 27 of the Exchange Act and 28


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U.S.C. §1391(b), as Array’s principal executive offices and wholly-owned subsidiary, Array LLC,

are located in this District and a substantial part of the events or omissions giving rise to the claims

occurred in this District.

        22.      In connection with the acts, conduct and other wrongs alleged in this Complaint,

the Individual Defendants, directly or indirectly, used the means and instrumentalities of interstate

commerce, including but not limited to, the United States mail, interstate telephone

communications and the facilities of the national securities exchange.

                                              PARTIES

        23.      Plaintiff Wendell Rose purchased Array common stock during the Class Period and

has suffered damages as a result. Wendell Rose’s certification was filed in connection with the

initial complaint in this action and is incorporated herein by reference.

        24.      Lead Plaintiff Peter Voulgaris purchased Array common stock during the Class

Period and has suffered damages as a result. Peter Voulgaris’ certification was filed in connection

with his motion for lead plaintiff in this action and is incorporated herein by reference.

        25.      Array is a Delaware corporation with its principal executive offices located at 3200

Walnut Street, Boulder, Colorado 80301. Array is headquartered in Boulder, Colorado and has

209 full-time employees. Array also maintains offices in Morrisville, North Carolina and

Cambridge, Massachusetts. Array was founded in 1998 and became a public company in

November 2000. Array is listed on the NASDAQ Global Market under the symbol “ARRY.”

        26.      Defendant Ron Squarer was Array’s Chief Executive Officer (“CEO”) and a

member of the Array’s Board of Directors at all relevant times

        27.      Defendant Victor Sandor was Array’s Chief Medical Officer (“CMO”) at all

relevant times

        28.      Defendant Jason Haddock has been Array’s CFO from July 28, 2016, to date.

        29.      Squarer, Sandor, and Haddock (collectively, the “Individual Defendants”):


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                directly or indirectly participated in the management of Array;

                was directly or indirectly involved in the day-to-day operations of Array at

                 the highest levels;

                was privy to confidential proprietary information concerning Array and its

                 business and operations;

                was directly or indirectly involved in drafting, producing, reviewing and/or

                 disseminating the false and misleading statements and information alleged

                 herein;

                was directly or indirectly involved in the oversight or implementation of

                 Array’s internal controls;

                was aware of or recklessly disregarded the fact that the false and misleading

                 statements were being issued concerning Array; and/or

                approved or ratified these statements in violation of the federal securities

                 laws.

       30.       Array is liable for the acts of Squarer, Sandor, and Haddock, and its employees

under the doctrine of respondeat superior and common law principles of agency as all the wrongful

act complained of herein were carried out within the scope of their employment with authorization.

       31.       The scienter of Squarer, Sandor, and Haddock, and other employees and agents of
Array are similarly imputed to Array under respondeat superior and agency principles.

                                            BACKGROUND

                            Binimetinib and the Phase 3 “NEMO” Study

       32.       Array is a biopharmaceutical company focused on the discovery, development and

commercialization of targeted small molecule drugs to treat patients afflicted with cancer; in

particular, melanoma. Array’s lead drug candidate during the Class Period was binimetinib. Array

described binimetinib as a drug intended to fight melanoma.


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        33.     Binimetinib was integral to several of Array’s clinical trials during the Class Period.

 Clinical trials involving binimetinib include MILO (binimetinib in low-grade serous ovarian

 cancer patients), COLUMBUS (encorafenib in combination with binimetinib in BRAF-mutant

 melanoma patients) and BEACON CRC (evaluating the triplet combination of encorafenib,

 binimetinib and cetuximab, an EGFR antagonist, in patients with BRAF-mutant Colorectal

 Cancer).

        34.     At issue in this case is Array’s Phase 3 clinical trial for binimetinib, referred to by

 Array as “NEMO” (NRAS MELANOMA AND MEK INHIBITOR). Array designed NEMO to

 compare the efficacy of binimetinib with dacarbazine in patients (either treatment-naïve or having

 received previous immunotherapy). The primary endpoint of the study, or the primary means by

 which binimetinib was to be evaluated, was the number of months a patient survived without

 progression of their melanoma (referred to as “progression-free survival”).

        35.     At the outset, the NEMO study allowed for either treatment-naïve (first-line)

 patients or patients who had undergone a single round of IO therapy (i.e., second-line therapy).

 The trial protocol subsequently underwent two revisions to account for the rapid uptake of IO

 drugs: patients were originally allowed to enroll if they had undergone no more than one prior IO

 regimen and this had been at least 12 weeks earlier. Almost a year after the trial started, on

 December 18, 2013, this washout period was cut it half to six weeks. Six months later, on May 19,

 2014, the eligibility requirements were changed to allow patients with any number of prior IO

 regimens to enter.

        36.     Patients received binimetinib (45 mg orally twice daily) or dacarbazine (1000

 mg/m² intravenously once every 3 weeks). Study visits occurred at 3-week intervals. Patients

 continued on study treatment until documented disease progression, intolerable toxicity,

 withdrawal of consent, death, physician decision, or early termination. One dose reduction of

 binimetinib to 30 mg orally twice daily was permitted; patients not able to tolerate binimetinib at


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 this lower dose were permanently discontinued. No re-escalation was allowed if the dose reduction

 was because of left ventricular ejection fraction dysfunction or prolonged heart rate-corrected QT

 interval, Fridericia’s formula, of longer than 500 ms; otherwise, dose re-escalation of binimetinib

 to 45 mg orally twice daily was permitted if the adverse event improved to the baseline toxicity

 level and remained stable for at least 21 days.

           37.   Patients unable to tolerate the dacarbazine dosing schedule were permitted a

 maximum of two dose reductions, first to 750 mg/m² and then to 500 mg/m². Any patient requiring

 further dose reduction of dacarbazine was removed from study treatment. Re-escalation of

 dacarbazine dose was not permitted. Dacarbazine could be held for up to 6 weeks; patients who

 had continued toxicity were discontinued from the study.

           38.   Safety and tolerability were assessed by the incidence and severity of adverse

 events (monitored continuously through to 30 days after the end of treatment); assessments of

 hematology and chemistry values, vital signs, electrocardiograms, and physical examinations

 (done at every study visit); multigated acquisition scans or echocardiograms (done at weeks 4 and

 7 and then every 9 weeks through to the end of treatment); and ocular examinations, including

 optical coherence tomography.

           39.   The primary endpoint was progression-free survival (defined as time from

 randomization until progression according to blinded independent central review or death). Overall
 survival was a secondary endpoint (defined as time from randomization until death from any

 cause).

           40.   Array reported the NEMO results in an article by doctors and scientists funded in

 part by Array entitled “Binimetinib versus dacarbazine in patients with advanced NRAS-mutant

 melanoma (NEMO): a multicentre, open-label, randomised, phase 3 trial” published in Lancet

 Oncology in April 2017. Array also presented its findings at the 2016 American Society of Clinical

 Oncology (ASCO) Annual meeting in Chicago in a presentation titled “Results of NEMO: A Phase


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 3 Trial of Binimetinib (BINI) vs Dacarbazine (DTIC) in NRAS-Mutant Cutaneous Melanoma.”

        41.     Array represented to the public that NEMO had proven binimetinib to be a success.

 According to Array, the study found binimetinib extended median progression-free survival, the

 study’s primary endpoint, at 2.8 months, as compared with 1.5 months observed with dacarbazine.

 Array touted this result as “the first trial to ever meet a PFS endpoint in patients with advanced

 NRAS-mutant melanoma.” Array also noted that, in a pre-specified subset of patients who received

 prior treatment with immunotherapy, patients who received binimetinib experienced 5.5 months

 of median PFS, compared with 1.6 months for those receiving treatment with dacarbazine.

        42.     Based upon this data, Array announced to the public on December 16, 2015 that it

 would be proceeding with an NDA for binimetinib. In a press release announcing the decision,

 Defendant Squarer stated in pertinent part that: “We are excited to announce positive results from

 the NEMO trial, which suggest binimetinib has the potential to provide an important new treatment

 option for patients with advanced NRAS melanoma. . . . We look forward to discussing the data

 with the FDA and other regulatory agencies in the near future.”

        43.     Upon this announcement, the stock price jumped from $3.83 on December 15, 2015

 to close at $4.62 on December 16, 2015 on exceptionally high trading. Array repeatedly touted the

 results of the NEMO trial and the anticipated NDA filing including: at a January 14, 2016

 JPMorgan Healthcare Conference; in a February 2, 2016 press release; in a February 2, 2016
 Second Quarter Earnings Conference Call; a May 3, 2016 press release; a May 3, 2016 Third

 Quarter Earnings Conference Call; and a June 9, 2016 Jefferies Healthcare Conference.

                            The FDA New Drug Application Process

        44.     The NDA process is critical to most, if not all, biopharmaceutical companies.

 Biopharmaceuticals most often do not (indeed, cannot) generate revenue until their products are

 approved by the FDA. The NDA process is the process by which a biopharmaceutical company

 requests and potentially receives that approval. All drugs currently marketed within the United


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 States were, at some point, the subject of an approved NDA

         45.     To submit an NDA, a company must be able to support the application with a large

 amount of data that, among other things, proves that the drug is safe and effective. Specifically, an

 NDA must show “substantial evidence” that the drug is safe and effective at treating the condition

 it purports to treat.

         46.     A properly submitted NDA provides the FDA with all pertinent information about

 the drug, including data and statistical analyses sufficient to determine whether: (1) the drug is

 safe and provides the benefits it purports to; (2) the benefits of the drug outweigh its risks; (3) the

 drug’s proposed labeling is appropriate and what it should contain; and (4) the methods used in

 manufacturing the drug and the controls used to maintain the drug’s quality are adequate to

 preserve the drug’s identity, strength, quality, and purity. Although safety and efficacy are

 particular important in the FDA’s assessment, each of these issues is independently critical to the

 agency’s ultimate approval decision.

         47.     In order to meet these standards, drug developers typically subject a drug candidate

 to a series of clinical trials designed to accumulate the data required to submit a successful NDA.

 Phase 1 clinical trials typically evaluate an investigational drug’s safety and dosage tolerance.

 Phase 2 clinical trials: (1) usually involve larger patient populations; (2) evaluate dosage tolerance

 and appropriate dosage; (3) identify possible short-term adverse effects and safety risks; and (4)
 provide a preliminary evaluation of the efficacy of the drug for specific indications.

         48.     Finally, Phase 3 clinical trials test for efficacy and safety in an even further

 expanded patient population. Phase 3 trials also usually involve comparison with placebo, and are

 intended to establish the overall risk-benefit profile of the product and provide an adequate basis

 for physician labeling.

         49.     The FDA typically requires two successful clinical trials—which must be

 “adequate and well-controlled investigations”—in order to provide the FDA with “substantial


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 evidence” that a drug is safe and effective. The FDA has generally emphasized the plural in

 “investigations,” meaning that most drug approvals are based on the results of at least two pivotal

 trials.

           50.   FDA procedures make “submission” and “filing” distinct events. Specifically, a

 pharmaceutical company “submits” an NDA to the FDA. After a preliminary review for facial

 sufficiency, the FDA “files” the application into a dossier, where it remains until further action is

 taken by regulators for a complete substantive review.

           51.   Title 21 CFR 314.60 “Amendments to an unapproved NDA, supplement, or

 resubmission,” states that that while “FDA generally assumes that when an original NDA . . . is

 submitted to the Agency for review, the applicant believes that” it can be approved as submitted.

 While the FDA allows applicants to submit amendments to an NDA that has been filed but not yet

 approved, “[a] major amendment may not include data to support an indication or claim that was

 not included in the original NDA, supplement, or resubmission, but it may include data to support

 a minor modification of an indication or claim that was included in the original NDA, supplement,

 or resubmission.” Under FDA SOPP 8402: Designation of Amendments as Major, Version: #6,

 Effective Date: October 1, 2017, a major amendment is “an amendment to an original application,

 efficacy supplement, manufacturing supplement or resubmission of any of these applications,

 including biosimilars, that extends the review clock.”
           52.   Broadly speaking, drug approval decisions hinge on assessment of the product’s

 benefit-cost ratio. However, the threshold for approval changes along with the availability and

 quality of therapeutic alternatives: when promising alternatives are limited, regulators are more

 likely to approve products that would not be approved when other options are available.

 Additionally, treatments for more aggressive diseases or diseases that require unique treatment are

 more likely to be approved that treatments for more generic disease. Although Array claimed to

 the public that NRAS melanoma was a unique disease that was particularly aggressive and had


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 limited treatment alternatives, numerous studies show that NRAS melanoma is not more

 aggressive nor does it require specialized treatment.1 Thus, the binimetinib NDA was subject to

 the FDA’s routine evaluation process.

                             The Truth about the NEMO Trial Data

        53.     Unbeknownst to the public (and contrary to Defendants’ public statements), the

 NEMO data was severely problematic in terms of binimetinib’s prospects for NDA approval.

        54.     Array had reported improved response rates for binimetinib treatment versus

 dacarbazine in patients with NRAS-mutant melanoma with a median PFS of 2.8 versus 1.5 months,

 respectively. Array had also reported that patients who had received previous IO treatment

 performed much better in the NEMO trial than patients that did not. Patients who had received

 binimetinib after prior IO had a median PFS of 5.49 months whereas the dacarbazine with prior

 IO had PFS of 1.64 months, thus representing an additional 4 months of PFS as compared to the

 1.3 month advantage in the larger trial population. Other important secondary outcomes, such as

 quality of life and comparison of ECOG performance status, were not reported in those public

 reports.

        55.     While Array did not report data about quality of life or a comparison of ECOG

 performance status, the European Medicines Agency (EMA) addressed these issues in a detailed

 review of an application from one of Array’s collaborators, a European company named Pierre

 Fabre. Pierre Fabre owned the European license for binimetinib. Pierre Fabre’s application to the

 EMA was based on the NEMO data with an indication for melanoma with the NRAS mutation,

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   See, e.g., N.E. Thomas et al. Association between NRAS and BRAF mutational status and
 melanoma-specific survival among patients with higher-risk primary melanoma, 1 JAMA Oncol.
 359-68 (2015); M.S. Carlino et al., Differential activity of MEK and ERK inhibitors in BRAF
 inhibitor resistant melanoma, 8 Mol Oncol. 544-54 (2014); JA Ellerhorst et al., Clinical correlates
 of NRAS and BRAF mutations in primary human melanoma, 17 Clin Cancer Res. 229–35 (2011);
 E. Edlundh-Rose et al., NRAS and BRAF mutations in melanoma tumours in relation to clinical
 characteristics: a study based on mutation screening by pyrosequencing, 160 Melanoma Res. 471–
 78 (2006).

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 just like binimetinib.

        56.     The processes to approve drugs in the EU are largely identical to those of the FDA.

 An investigator of a proposed pharmaceutical first obtains pre-authorization for use of the drug in

 clinical trials. The drug then progresses through sequential studies analogous to those in the United

 States: Phase I trials conducted in a small number of healthy subjects to clarify pharmacology and

 dose range, Phase II trials conducted in several hundred patients with the target condition to

 investigate the dose-response relationship, and Phase III confirmatory trials in several hundred to

 several thousand patients to substantiate safety and efficacy.

        57.     A European public assessment report (EPAR) is published for every human

 medicine application that has been granted or refused a marketing authorisation. This follows an

 assessment by EMA of an application submitted by a pharmaceutical company in the framework

 of the Central authorisation of medicines. An EPAR provides public information on a medicine,

 including how it was assessed by EMA.

        58.     Pierre Fabre withdrew the NRAS marketing authorization application (MAA) on

 January 4, 2018, after the EMA had conducted an extensive review but before Pierre Fabre had

 responded to a request for additional information. Unlike the FDA, which has not produced any

 binimetinib-NRAS related documents containing substantive opinions, the EMA has published

 detailed findings of its review. This November 9, 2017 Assessment Report, under the application
 name Mektovi, provides a thorough, objective regulatory perspective on the NRAS application. In

 the first section, titled “Recommendation,” the EMA writes (emphasis added):

        Recommendation: Based on the review of the data on quality, safety and efficacy,
        the CHMP consider that the application for Mektovi, in the treatment of adult
        patients with unresectable or metastatic melanoma, with NRAS Q61 mutation, is
        not approvable since “major objections” have been identified, which preclude a
        recommendation for marketing authorisation at the present time. The details of
        these major objections are provided in the preliminary list of questions. The major
        objections precluding a recommendation of marketing authorisation pertain to
        the following principal deficiencies:


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                • The efficacy of binimetinib in the proposed patient population is
                questionable compared to dacarbazine (1.3-month improvement in PFS
                along with an ORR of 15.2%). The assessment of questionable efficacy
                applies both on treatment naïve as well as on patients treated with prior
                immunotherapy. In the absence of an OS the limited improvement in PFS
                not considered clinically relevant. To further challenge the question
                whether improved PFS (and therefore, indirectly, higher ORR) constitutes
                actually a clinical benefit in the concrete context of the NEMO trial (a trial
                which allowed check point inhibitor/immunotherapy treatment once
                licensed after initiation of NEMO trial both prior to recruitment as well as
                post progression), two additional analyses/discussions are requested from
                the applicant.

                • An unmet medical need for binimetinib, specifically targeting NRAS
                mutations in melanoma, has not been justified. The limited efficacy of
                binimetinib demonstrated and considering the clinical practice of treating
                these patients with relatively effective treatments for BRAF wild type
                melanoma, including checkpoint inhibitors and PD-1 inhibitors, does not
                support the claim that binimetinib fulfils an unmet medical need.

                • Safety in the studied population is a concern due to poorer safety,
                including quicker deterioration of ECOG PS (including deterioration free
                survival [DFS]) with binimetinib compared to dacarbazine chemotherapy.
                The observed deleterious effects on longer term OS may be attributable to
                the (very) poor efficacy of binimetinib as compared to checkpoint inhibitors
                administered post progression to a relevant proportion of patients in the
                pivotal NEMO trial.
        59.     In the Assessment Report, the EMA reinforced that there was not a demonstrated

 need for specific NRAS melanoma treatment, stating, “An unmet medical need for binimetinib,

 specifically targeting NRAS mutations in melanoma, has not been justified. The limited efficacy

 of binimetinib demonstrated and considering the clinical practice of treating these patients with

 relatively effective treatments for BRAF wild type melanoma, including checkpoint inhibitors and

 PD-1 inhibitors, does not support the claim that binimetinib fulfils an unmet medical need.”

        60.     The EMA dismissed the meager improvement in PFS and noted the lack of survival

 benefits. They stated, “The [1.3 month] PFS improvement does not, however, translate into an

 overall survival benefit.” The EMA also notes that the Kaplan-Meier curve, which looked at long-


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 term survival, ‘crosses over’ around 12 months, suggesting a late detrimental effect of the initial

 treatment of binimetinib and thus meaning that the dacarbazine group actually has a better chance

 of survival than the binimetinib group. The EMA also noted concerns that more mature OS analysis

 would further confirm that long-term survival may be worse in the binimetinib arm than in the

 dacarbazine arm. This information would be a red flag for the FDA.

        61.     The EMA also expressed concerns about quality of life (QoL) and performance

 status (PS), ultimately concluding that performance status and QoL was worse in the binimetinib

 arm of the study. In pertinent part, the EMA stated:

        If interpreted, the QoL data would show that treatment with binimetinib may have
        a negative impact on QoL. Using such an interpretation for a decision would be
        unfair but the result is mentioned here for the similar trend of QoL and ECOG PS
        data. The proportion of patients with definitive 1-point deterioration in ECOG
        PS…was higher in the binimetinib arm compared to the dacarbazine arm (30.9%
        vs. 11.4%). Since median for a definitive 1-point deterioration in ECOG PS was
        not reached (but the median of OS in both arms), and death constitutes an ECOG
        PS of 5, additional analysis of deterioration free survival…was requested by
        CHMP. Accordingly, patients in the dacarbazine arm have a by 0.9 months
        prolonged DFS…There are good reasons, deriving from the inadequate OS
        assessment, assuming that with more information and less censored OS events the
        result will be statistically significant.
        62.     The EMA further pointed out concerns with binimetinib’s toxicity, stating:

        Although an MEK inhibitor in principle is not cytotoxic, binimetinib’s toxicity is
        more pronounced than that of standard chemotherapy. The sum of toxicities has a
        statistically significantly negative impact on deterioration of ECOG PS >1….
        Additionally, it should be considered that binimetinib is intended for permanent
        daily administration, while chemotherapy with DTIC is administered in cycles,
        which allow the patients to recover between the treatment phases. The high rates of
        drug discontinuation, dose interruptions and reductions raises concerns regarding
        tolerability in the intended target population.
        63.     In the “Balance of benefits and risks” section, which is particularly important as

 risks and benefits are something given great weight during FDA’s approval process, the EMA

 writes, “The currently observed 1.32-month prolongation in median PFS over dacarbazine, without

 an improvement in overall survival is not considered sufficient evidence of benefit in the proposed

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 patient population. The observed benefit does not override concerns regarding the tolerability of

 binimetinib in the proposed patient population and the possible negative impact on the health (+/-

 quality of life) of these patients.” This comment again reinforces the EMA’s concerns about the

 meager benefit of the drug, especially when compared with the toxicity and QoL issues.

        64.     Ultimately, the NEMO study proved that binimetineb had a very limited clinical

 benefit on the primary endpoint (i.e., +1.3 months of PFS), possibly harmful effects on long-term

 overall survival and performance status. While Array did not publicize this performance status or

 QoL data, the FDA had access to this data.

              DEFENDANTS MADE MISLEADING STATEMENTS ABOUT THE

                         BINIMETINIB NEW DRUG APPLICATION

        65.     During the Class Period, Defendants made materially false and/or misleading

 statements and/or omissions by: (i) omitting to disclose material information about the results of

 the NEMO study showed, such as quality of life, performance status, and tolerability, which would

 be important considerations for regulators to consider in evaluating the NDA; (ii) misleading

 investors to believe that the NEMO study results showed sufficient clinical benefits of binimetinib

 for the purposes of obtaining FDA-approval; and (iii) concealing that Defendants intended to seek

 approval for a more narrow indication (post-immunotherapy only) given that the entirety of the

 NEMO data did support the indication initially stated on Array’s NDA.

                                    June 30, 2016 – Form 8-K

        66.     The Class Period begins on June 30, 2016, Array issued a press release, also

 attached as exhibit 99.1 to the Form 8-K filed with the SEC announcing the filing of a NDA for

 binimetinib in patients with advanced NRAS-mutant melanoma to the FDA (“June 2016 Press

 Release”). Array made material misrepresentations in the press release, including in pertinent part

 (emphasis added):

        Array BioPharma Submits Binimetinib New Drug Application to U.S. FDA


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       First-ever NDA filing for Array

       BOULDER, Colo., June 30, 2016 /PRNewswire/ -- Array BioPharma (Nasdaq:
       ARRY) today announced the submission of a New Drug Application (NDA) for
       binimetinib in patients with advanced NRAS-mutant melanoma to the U.S. Food
       and Drug Administration (FDA). The submission is based on results of the pivotal
       Phase 3 NEMO (NRAS MELANOMA AND MEK INHBITOR) study, which
       found binimetinib significantly extended median progression-free survival
       (PFS), the study's primary endpoint, as compared with dacarbazine.

       “The new drug application for binimetinib represents Array's first – an important
       milestone for this promising compound and our Company,” said Ron Squarer,
       Chief Executive Officer, Array BioPharma. “NRAS-mutant melanoma represents
       an often overlooked subset of advanced disease without meaningful treatment
       options beyond immunotherapy and NEMO is the first-ever trial to meet a PFS
       endpoint in this population. We look forward to working with the FDA as they
       evaluate our application and the potential for binimetinib as a treatment option for
       these patients.”

       In the NEMO study, binimetinib significantly extended median PFS at 2.8 months,
       as compared with 1.5 months observed with dacarbazine [hazard ratio (HR)=0.62
       (95% CI 0.47-0.80), p<0.001] in patients with advanced NRAS mutant melanoma.
       In the pre-specified subset of patients who received prior treatment with
       immunotherapy, including ipilimumab, nivolumab or pembrolizumab, patients
       who received binimetinib experienced 5.5 months of median PFS (95% CI, 2.8–
       7.6), compared with 1.6 months for those receiving treatment with dacarbazine
       (95% CI, 1.5–2.8).

       Mr. Squarer added, “While the results in the pre-specified sub-group of patients
       who had received prior treatment with immunotherapy are of interest,
       interpretation beyond overall consistency with the primary result should be made
       with care. Array anticipates that the primary consideration for marketing
       approval will be the results for the primary endpoint of the trial.”

       In addition to improving PFS, binimetinib also demonstrated significant
       improvement in overall response rate (ORR) and disease control rate (DCR). While
       there was no statistically significant difference demonstrated in overall survival, the
       median overall survival (mOS) favored the binimetinib arm.

          Confirmed ORR was 15 percent (95% CI, 11-20 percent) in patients receiving
           binimetinib vs. 7 percent (95% CI, 3-13 percent) in patients receiving
           dacarbazine.
          DCR for patients receiving binimetinib was 58 percent (95% CI, 52-64 percent)

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              vs. 25 percent (95% CI, 18-33 percent) for patients receiving dacarbazine.
             mOS was estimated at 11.0 months in patients receiving binimetinib vs. 10.1
              months for patients treated with dacarbazine [(HR) = 1.0 (95% CI 0.75-1.33),
              p=0.499].

        Under the NEMO protocol, and in accordance with accepted statistical practice, the
        subgroup analyses of OS are formally conducted only if the key secondary endpoint
        of OS reached statistical significance.

        Binimetinib was generally well-tolerated and the adverse events (AEs) reported
        were consistent with previous results in NRAS-mutant melanoma patients. Grade
        3/4 AEs reported in greater than or equal to 5 percent of patients receiving
        binimetinib included increased creatine phosphokinase (CPK) and hypertension.

        The NEMO results were presented at the 2016 American Society of Clinical
        Oncology (ASCO) Annual Congress earlier in June.

        About NEMO
        The NEMO trial, (NCT01763164), is an international, randomized Phase 3 study
        evaluating the safety and efficacy of 45 mg BID binimetinib, compared to 1,000
        mg/m2 dacarbazine dosed every three weeks. Prior immunotherapy treatment was
        allowed.

        The primary endpoint of the study is PFS, and secondary endpoints include overall
        survival (OS), ORR and DCR. Patients underwent radiographic assessment of
        disease status every six weeks, and assessment of progression was determined by
        blinded central review. Over 100 sites across North America, Europe, South
        America, Asia and Australia participated in the study.

        67.      These statements were materially false and/or misleading because they concealed

 the true nature of the NEMO data from investors. While binimetinib met its primary endpoint, the

 entirety of the NEMO data showed decreases in quality of life and performance status and that

 long-term prognosis for binimetinib was worse than for dacarbazine. This information severely

 undermined (if not outweighed) the benefits associated with the slight increase in PFS (the primary

 endpoint). Additionally, Squarer’s statements concealed the fact that Array was attempting to have

 the FDA approve binimetinib for a different indication than the one submitted on the company’s

 NDA; in particular, an indication for post-immunotherapy patients only based upon the more



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 favorable data obtained from this patient stratum during the NEMO study. Unbeknownst to

 investors, this substantially increased the risk of the FDA rejecting the NDA.

                     July 12, 2016 – Cantor Fitzgerald Healthcare Conference

        68.     On July 12, 2016 at the Cantor Fitzgerald Healthcare Conference, Defendant

 Squarer again discussed the NEMO trial results and FDA filing. He stated, in relevant part

 (emphasis added):

        But, as I said, we were very pleased to present full results from our Phase III study
        in NRAS melanoma at ASCO and file last month; also to present some very
        important new data in BRAF colorectal and to announce the initiation of a new
        Phase III, which I will be discussing as well.

        …

        So, I am now for those on the webcast on slide 5, and I want to talk about our Phase
        III results in NRAS melanoma. And what we were able to show is that the primary
        endpoint of PFS, we did hit that primary endpoint with a roughly doubling of
        progression free survival. We did see in the data presented at ASCO a very
        interesting result that in specifically a subset of patients, predefined subset of
        patients who had received prior immunotherapy that, in fact, the PFS was quite a
        bit longer while the control arm DTIC remained similar.

        And, so, while it is important to note that this is a -- although predefined -- still is
        a subset analysis and should be reviewed with care, we do believe that the NDA
        filing will primarily -- process will primarily focus on the primary endpoint of
        PFS. Now while we did show a numerical difference in overall survival favoring
        binimetinib, this was not statistically significant.

        So, now I am on slide 6, and for folks in the room, I am now able to show you the
        results that were presented at ASCO. In fact, here you can see the overall PFS
        results. But, as I referred to earlier, we do have the -- on slide 7 -- the predefined
        subset of patients that have received prior immunotherapy. And here you can see
        that they did have a greater benefit, whether or not it was ipilimumab or PD-1, a
        PD-L1. And here on slide 8, we are able to share or were able to share -- this is
        Professor Dummer's presentation -- the results. The two Kaplan-Meier curves,
        which, of course, look substantially different here. Regarding overall survival, as I
        mentioned, a numerical benefit or a numerically higher number for binimetinib than
        dacarbazine, but not statistically significant.



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        Now I will note that at the ASCO meeting Professor Georgina Long did point out
        some features, which may be relevant to this OS analysis. Specifically a very
        substantial percentage of patients that were randomized to DTIC actually dropped
        out at the very -- towards the very beginning of the trial, and that this trial represents
        the greatest use of post-treatment immunotherapy or post-study immunotherapy of
        any melanoma trial that has been run.

        So, these are some factors that may influence the OS result. I will repeat that the
        primary endpoint is PFS. We believe that the focus with regulators will be on the
        overall PFS result, although we do share the subset information because it is
        interesting. The paradigm in the treatment of oncology is usually that later lines of
        therapies do less well. It appears that at least in this setting after immunotherapy it
        appears that there may be at least no worse results and potentially a better.

        69.     These statements were materially false and/or misleading because they led

 investors to believe that meeting a primary endpoint of a slight increase of PFS alone would be

 sufficient to support FDA approval of the binimetinib NDA. Defendants concealed other data

 obtained from the NEMO study that undermined the benefits of meeting the primary endpoint.

 Moreover, although Squarer told investors that the focus of the regulators will be on NEMO’s

 overall data as opposed to the prior-IO subset, he concealed from investors that Array was

 attempting to receive approval for a more narrow indication based upon the data from the prior-IO

 subset only.

                                     August 4, 2016 – Form 8-K

        70.     On August 4, 2016, Array issued a press release, also attached as exhibit 99.1 to

 the Form 8-K filed with the SEC announcing the Fourth Quarter earnings call and again

 highlighting the filing of a NDA for binimetinib in patients with advanced NRAS-mutant

 melanoma to the FDA (“August 2016 Press Release”). Array made material misrepresentations in

 the press release, including in pertinent part (emphasis added):

        – Binimetinib / NRAS-mutant melanoma New Drug Application (NDA) filed –

        …



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       “The recent filing of an NDA for binimetinib in NRAS-mutant melanoma
       represents an important milestone for Array,” said Ron Squarer, Array's Chief
       Executive Officer.

       …

       NEMO: Global Phase 3 trial of binimetinib versus dacarbazine in NRAS-mutant
       melanoma patients

       Array submitted an NDA for binimetinib to the Food and Drug Administration
       (FDA) at the end of June 2016. Array is planning for an Oncologic Drugs Advisory
       Committee (ODAC) meeting as part of the regulatory review process. Array is also
       currently preparing for an Application Orientation Meeting (AOM) with the FDA
       in September 2016, which we expect will include a discussion of the NDA package
       including clinical risk / benefit.

       Results from the NEMO trial were presented at the 2016 American Society of
       Clinical Oncology (ASCO) Annual Meeting. The study met its primary endpoint
       of improving progression-free survival (PFS) compared with dacarbazine
       treatment. The median PFS on the binimetinib arm was 2.8 months versus 1.5
       months on the dacarbazine arm; hazard ratio (HR) 0.62, [95% CI 0.47-0.80],
       p<0.001. In the pre-specified subset of patients who received prior treatment with
       immunotherapy, including ipilimumab, nivolumab or pembrolizumab, patients
       who received binimetinib experienced 5.5 months of median PFS (95% CI, 2.8–
       7.6), compared with 1.6 months for those receiving treatment with dacarbazine
       (95% CI, 1.5–2.8). While the results in the pre-specified sub-group of patients
       who had received prior treatment with immunotherapy are of interest,
       interpretation beyond overall consistency with the primary result should be made
       with care. Array anticipates that the primary consideration for marketing approval
       will be the results for the primary endpoint of the trial.

       In addition to improving PFS, binimetinib also demonstrated significant
       improvement in overall response rate (ORR) and disease control rate (DCR). While
       there was no statistically significant difference demonstrated in overall survival, the
       median overall survival (mOS) favored the binimetinib arm.

          Confirmed ORR was 15 percent (95% CI, 11-20 percent) in patients receiving
           binimetinib vs. 7 percent (95% CI, 3-13 percent) in patients receiving
           dacarbazine.
          DCR for patients receiving binimetinib was 58 percent (95% CI, 52-64 percent)
           vs. 25 percent (95% CI, 18-33 percent) for patients receiving dacarbazine.
          mOS was estimated at 11.0 months in patients receiving binimetinib vs. 10.1
           months for patients treated with dacarbazine [(HR) = 1.0 (95% CI 0.75-1.33),
           p=0.499].

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        Under the NEMO protocol, and in accordance with accepted statistical practice, the
        subgroup analyses of overall survival (OS) are formally conducted only if the key
        secondary endpoint of OS reached statistical significance.

        Binimetinib was generally well-tolerated and the adverse events (AEs) reported
        were consistent with previous results in NRAS-mutant melanoma patients. Grade
        3/4 AEs reported in greater than or equal to 5 percent of patients receiving
        binimetinib included increased creatine phosphokinase (CPK) and hypertension.
        Activating NRAS mutations are present in up to 20 percent of patients with
        metastatic melanoma, and are a poor prognostic indicator for these patients.
        Treatment options for this population remain limited beyond immunotherapy, and
        these patients face poor clinical outcomes and high mortality.
        71.     These statements were materially false and/or misleading because they led

 investors to believe that this clinical data showed that binimetinib was well-tolerated, when in fact,

 the study data showed decreases in Quality of life and performance status, and that, long-term

 prognosis for binimetinib was worse than for dacarbazine. It also led investors to believe that

 meeting a primary endpoint of a slight increase of PFS alone would be sufficient to support FDA

 approval of the binimetinib NDA for in use for patients with NRAS-mutant melanoma. These

 statements also led investors to believe that NRAS-mutant melanoma was a uniquely aggressive

 disease requiring unique treatment and that binimetinib would be meeting an unmet need, thus

 easing the path for NDA approval when in fact NRAS-mutant melanoma was not unique and many
 treatments were available. Further, these statements, and specifically the statement, “While the

 results in the pre-specified sub-group of patients who had received prior treatment with

 immunotherapy are of interest, interpretation beyond overall consistency with the primary result

 should be made with care. Array anticipates that the primary consideration for marketing

 approval will be the results for the primary endpoint of the trial,” led investors to believe that the

 NDA would be based on the full dataset and failed to disclose that the application would be based

 on or modified to be based on a cherry-picked subpopulation of the study who had received prior

 treatment with IO.



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                  August 4, 2016 – Fourth Quarter Earnings Conference Call

        72.    On August 4, 2016, Array had a Fourth Quarter Earnings Conference Call where

 Defendant Squarer stated in pertinent part (emphasis added):

        The recent filing of an NDA for binimetinib in NRAS-mutant melanoma represents
        an important milestone for Array.

        …

        Moving to slide 6, we show the NEMO results that were presented in ASCO at
        June. The study met its primary endpoint, demonstrating a significant increase in
        median progression-free survival for binimetinib when compared to dacarbazine
        in patients with NRAS-mutant melanoma. While there was no statistically
        significant difference demonstrated in overall survival, the median overall survival
        favored the binimetinib arm.

        Binimetinib was generally well tolerated and the adverse events reported were
        consistent with previous results in NRAS-mutant melanoma patients. Grade 3/4
        adverse events reported in greater than or equal to 5% of patients receiving
        binimetinib included increased CPK and hypertension.

        Patients with metastatic NRAS-mutant melanoma have limited treatment options
        beyond immunotherapy and these patients face poor clinical outcomes and high
        mortality. Array submitted an NDA for binimetinib to the Food & Drug
        Administration at the end of June 2016 and we are planning for an Oncology Drug
        Advisory Committee, ODAC, meeting as part of the regulatory review process.
        Array is also currently preparing for an application orientation meeting with the
        FDA in September of 2016, which we expect will include a discussion of the NDA
        package including clinical risk and benefit.

        Michael Schmidt - Leerink Partners - Analyst
        Ron, I had one regarding the NEMO trial. Are there any additional overall survival
        analysis planned with longer-term follow-up in this study?

        Ron Squarer - Array BioPharma, Inc. - CEO
        I will turn that over to Victor. I think in the actual plan there may be; I don't know
        if we've disclosed that though.

        Victor Sandor - Array BioPharma, Inc. - Chief Medical Officer
        I don't know if we've disclosed the specifics of it, but there is a final overall
        survival analysis included in the statistical analysis plan and in the design of the
        study, where it basically is defined as when a particular percentage of patients

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        have died on the study.

        Michael Schmidt - Leerink Partners - Analyst
        Thanks. Then a question regarding this application orientation meeting with the
        FDA in September. Ron, can you just give us a sense of potential outcomes of that
        meeting? I'm a bit less familiar with that mechanism.

        Ron Squarer - Array BioPharma, Inc. - CEO
        Yes, Victor has quite a bit of experience with the steps of the regulatory process. I
        will have him address that.

        Victor Sandor - Array BioPharma, Inc. - Chief Medical Officer
        So the application orientation meeting is a standard meeting. It's routinely
        scheduled around the time of the completion of validation period for the NDA. And,
        as its name implies, the purpose is really to orient the Agency to the filing.
        Generally includes a discussion around the technical navigation around the file
        documents, but also it can include a discussion of preliminary key elements of the
        data, including the basis for risk-benefit assessment.

        So there's generally not a specific outcome, but it's an opportunity for the Company
        and the FDA to engage on a number of different issues around the filing.
        73.     These statements were materially false and/or misleading because they led

 investors to believe that this clinical data showed that binimetinib was well-tolerated, when in fact,

 the study data showed decreases in Quality of life and performance status, and that, long-term

 prognosis for binimetinib was worse than for dacarbazine. These statements were materially false

 and/or misleading because they led to believe that meeting a primary endpoint of a slight increase
 of PFS would be sufficient to support FDA approval of the binimetinib NDA for in use for patients

 with NRAS-mutant melanoma. Squarer and Sandor both stated that risk-benefit analysis that will

 take place at the FDA orientation meeting, but again fail to mention the quality of life and

 performance status issues which the FDA would undoubtedly address. Squarer and Sandor also

 both strategically dodge questions about overall survival analysis when directly asked by analysts.

 These statements led which led investors to believe that continued survival analysis was not

 important, that the NDA would be based on the full dataset and that that data would be sufficient.

 Instead, Array modified the indication so as to utilize the more promising cherry-picked


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 subpopulation of the study who had received prior treatment with IO, and accordingly, had better

 responses.

                                     August 19, 2016 – 10-K

        74.     In the 10-K for the fiscal year ending June 30, 2016, certified and signed by

 Defendant Squarer, Array reports the following (emphasis added):

        NEMO was a Phase 3 study that compared binimetinib versus dacarbazine in
        unresectable or metastatic NRAS-mutant melanoma patients. In June 2016, Array
        announced the submission of a New Drug Application (NDA) for binimetinib in
        patients with advanced NRAS-mutant melanoma to the U.S. Food and Drug
        Administration (FDA). We are planning for an Oncologic Drugs Advisory
        Committee (ODAC) meeting as part of the regulatory process. Array is also
        currently preparing for an Application Orientation Meeting (AOM) with the FDA
        in September 2016, which we expect will include a discussion of the NDA package
        including clinical risk / benefit.

        Activating NRAS mutations are present in approximately 20% of patients with
        metastatic melanoma, and have been a poor prognostic indicator for these patients.
        Treatment options for this population remain limited beyond immunotherapy (PD-
        1, CTLA4), therefore, if approved, binimetinib could represent an important
        additional therapy for these patients.

        The NDA submission is based on results of the NEMO study, which found
        binimetinib extended median PFS, the study's primary endpoint, as compared
        with dacarbazine. In the NEMO study, binimetinib extended median PFS at 2.8
        months, as compared with 1.5 months observed with dacarbazine [hazard ratio
        (HR)=0.62 (95% CI 0.47-0.80), p<0.001] in patients with advanced NRAS-mutant
        melanoma. In the pre-specified subset of patients who received prior treatment with
        immunotherapy, including ipilimumab, nivolumab or pembrolizumab, patients
        who received binimetinib experienced 5.5 months of median PFS (95% CI, 2.8-
        7.6), compared with 1.6 months for those receiving treatment with dacarbazine
        (95% CI, 1.5-2.8). While the results in the pre-specified sub-group of patients who
        had received prior treatment with immunotherapy are of interest, interpretation
        beyond overall consistency with the primary result should be made with care.
        Array anticipates that the primary consideration for marketing approval will be the
        results for the primary endpoint of the trial.

        75.     These statements were materially false and/or misleading because they led

 investors to believe that approval will be based on the entire set of data, and not just the ‘pre-


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 specified’ sub-group. Array says that “interpretation beyond overall consistency with the primary

 result should be made with care” while in reality Array was basing the approval for the changed

 indication on this very group. These statements also led them to believe that the PFS, the primary

 endpoint, will be the primary consideration and that that will be enough for approval. These

 statements also led investors to believe that this clinical data showed that binimetinib was well-

 tolerated, when in fact, the study data showed decreases in quality of life and performance status ,

 and that, long-term prognosis for binimetinib was worse than for dacarbazine. Finally, they also

 misled investors into believing that NRAS-mutant melanoma was a uniquely aggressive disease

 requiring unique treatment and that binimetinib would be meeting an unmet need, thus easing the

 path for NDA approval when in fact NRAS-mutant melanoma was not unique and many treatments

 were available.

                                  September 1, 2016 – Form 8-K

        76.     On September 1, 2016, Array issued a press release, also attached as exhibit 99.1

 to the Form 8-K filed with the SEC announcing that the FDA accepted the NDA for binimetinib

 in patients with advanced NRAS-mutant melanoma (“September 1, 2016 Press Release”). Array

 stated in pertinent part (emphasis added):

        Array BioPharma Announces FDA Acceptance of Binimetinib NDA for Patients
        with Advanced NRAS-Mutant Melanoma

        BOULDER, Colo., Sept. 1, 2016 /PRNewswire/ -- Array BioPharma (Nasdaq:
        ARRY) today announced that the FDA has accepted its New Drug Application
        (NDA) for binimetinib with a target action date under the Prescription Drug User
        Fee Act (PDUFA) of June 30, 2017. Array completed its NDA submission of
        binimetinib in late June 2016 based on findings from the pivotal Phase 3 NEMO
        (NRAS MELANOMA AND MEK INHIBITOR) trial in patients with
        NRASmutant melanoma. The FDA also indicated that it plans to hold an advisory
        committee meeting (ODAC) as part of the review process. As previously reported,
        Array is currently preparing for an Application Orientation Meeting (AOM) with
        the FDA in September 2016, which it expects will include a discussion of the NDA
        package including clinical risk / benefit.



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        “There are very few treatment advances beyond immunotherapy for this
        devastating disease, which impacts one out of five advanced melanoma patients,”
        said Victor Sandor, M.D., Chief Medical Officer, Array BioPharma. “Binimetinib
        is the first and only MEK inhibitor to demonstrate improvement on progression
        free survival in a Phase 3 trial for NRAS mutant melanoma patients.”

        About the Phase 3 NEMO Study

        The NEMO trial, (NCT01763164), is an international, randomized Phase 3 study
        evaluating the safety and efficacy of 45 mg BID binimetinib, compared to 1,000
        mg/m2 dacarbazine dosed every three weeks. Prior immunotherapy treatment was
        allowed, and patients underwent radiographic assessment of disease status every
        six weeks. Assessment of progression was determined by blinded central review.
        Over 100 sites across North America, Europe, South America, Asia and Australia
        participated in the study.

        Results from the NEMO trial were presented at the 2016 ASCO Annual Meeting.
        The study met its primary endpoint of improving progression-free survival (PFS)
        compared with dacarbazine treatment. The median PFS on the binimetinib arm
        was 2.8 months, versus 1.5 months on the dacarbazine arm. In the pre-specified
        subset of patients who received prior treatment with immunotherapy, including
        ipilimumab, nivolumab or pembrolizumab, patients who received binimetinib
        experienced 5.5 months of median PFS, compared with 1.6 months for those
        receiving treatment with dacarbazine. While the results in the pre-specified sub-
        group of patients who had received prior treatment with immunotherapy are of
        interest, interpretation beyond overall consistency with the primary result should
        be made with care. Array anticipates that the primary consideration for
        marketing approval will be the results for the primary endpoint of the trial. In
        addition to improving PFS, binimetinib also demonstrated improvement in overall
        response rate (ORR) and disease control rate. While there was no statistically
        significant difference demonstrated in overall survival (OS), the median overall
        survival (mOS) favored the binimetinib arm. Under the NEMO protocol, and in
        accordance with accepted statistical practice, the subgroup analyses of OS are
        formally conducted only if the key secondary endpoint of OS reached statistical
        significance. Binimetinib was generally well-tolerated and the adverse events
        reported were consistent with previous results in NRAS-mutant melanoma patients.

        77.     These statements were materially false and/or misleading because they led

 investors to believe that this clinical data showed that binimetinib was well-tolerated, when in fact,

 the study data showed decreases in quality of life and performance status, and that, long-term

 prognosis for binimetinib was worse than for dacarbazine. It also led investors to believe that


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 meeting a primary endpoint of a slight increase of PFS alone would be sufficient to support FDA

 approval of the binimetinib NDA for in use for patients with NRAS-mutant melanoma. Further,

 these statements, and specifically the statement, “While the results in the pre-specified sub-group

 of patients who had received prior treatment with immunotherapy are of interest, interpretation

 beyond overall consistency with the primary result should be made with care. Array anticipates

 that the primary consideration for marketing approval will be the results for the primary

 endpoint of the trial,” led investors to believe that the NDA would be based on the full dataset

 and failed to disclose that the application would be based on or modified to be based on a cherry-

 picked subpopulation of the study who had received prior treatment with IO.

               September 7, 2016 – Wells Fargo Securities Healthcare Conference

        78.     On September 7, 2016, at the Wells Fargo Securities Healthcare Conference,

 Defendant Squarer again promoted the NEMO results and probability for binimeinib’s NDA

 approval. He said, in pertinent part (emphasis added):


        So I'm on slide 3 here and what is clear is despite all that's going on in the Company,
        our number one priority is binimetinib, our MEK inhibitor, and encorafenib. And
        just by way of a little bit of background, we regained the rights to binimetinib from
        Novartis last year, secondary to their deal with GSK where they acquired the entire
        oncology business and swapped out their vaccine business.

        We also acquired the rights to a RAF inhibitor, encorafenib, and that deal came
        along with quite a bit of financial support, $100 million plus a net cash value at
        signing and a commitment to substantially fund all ongoing or planned trials as of
        the time of the deal.

        And so that includes trials like the NRAS melanoma pivotal, NEMO, which we're
        very pleased not only to have filed over the summer but just last week we got our
        day 60 letter, so essentially it did not get a refuse to file. And we have a PDUFA
        date now in the middle of next year.

        …

        Then, as I mentioned, we have our past days 60 with the NEMO filing, looking
        forward to a PDUFA date next year. We do expect an ODAC as well; in fact, we've

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       been informed we'll have an ODAC and we also have some other interactions with
       the FDA. It's an orientation meeting coming up where we believe we'll be talking
       about risk-benefit trade-off with that. But you're in a population there where after
       immunotherapy and after a MEK if approved, there really is no good alternative
       treatment for these patients and we live in a world now where in a lot of tumors you
       have many, many options and lines of therapy. So certainly a very high unmet need.

       Jim Birchenough - Wells Fargo Securities LLC

       Great, and thanks for that, Ron. So maybe starting with binimetinib, when you look
       at that ODAC panel that will be convened before your July 30 -- or June 30 PDUFA,
       what do you expect the issues to be? And maybe for context, just remind us of the
       data that you've shown -- the magnitude of benefit and whether that might be one
       of the areas of focus is just the clinical relevance of the data you've shown. But
       what do you expect the ODAC focus to be on?

       Ron Squarer - Array BioPharma Inc. - CEO

       Yes, so typically ODACs are all about the risk benefit so they are going to be
       looking in our view at both sides of it. So we took a single agent approach in this
       devastating disease so if you go back to when we initiated or began thinking about
       this study, NRAS melanoma, which is about 20% of melanoma, you could describe
       the prospects as a roughly 8.5 month median overall survival from time of diagnosis
       with essentially no useful therapies.

       Now we compared ourselves to DTIC, and while in our study it had a PFS of 1.5
       months, a lot of thought leaders would tell you that it's an artifact of when you do
       your first scan and that it's probably less than 1.5 months. Now, binimetinib, the
       binimetinib arm did have a statistically significant improvement over that by just
       under three months and so we're going into the FDA with a positive trial on an
       important endpoint in a disease where there's very few options.

       Now what has evolved is that immunotherapy has shown itself to be relatively
       agnostic to mutational driver, so it works roughly as well in NRAS melanoma as in
       the more common BRAF, BRAF being about half of patients.

       And so what we would assume is that many patients are going to receive prior
       immunotherapy before considering using a MEK and this isn't necessarily going
       to be driven by a label but by practice. So we'll negotiate the label that's perfect
       for the drug with the FDA, but we think that in practice a lot of patients are going
       to try immunotherapy first.

       Now the good news is that in our study we allowed for prior immunotherapy and
       roughly 20% of patients received immunotherapy. We had a predefined subset

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        analysis of those patients. But we view it with caution because it is a subset, but
        interestingly enough, patients who had received prior immunotherapy actually
        did better. And so now we're talking roughly 5.5 months of PFS versus 1.5 or I
        think it was 1.6 for the DTIC arm.

        Now again, subsets, we think the FDA is going to focus on the overall population
        but it is an interesting guide. In general, our hypothesis about immunotherapy in
        targeted agents is that if you go after immunotherapy it's not the same paradigm as
        with cytotoxic regimens or historic regimens where later lines of therapy are
        necessarily worse.

        Here we would like to assume it's not going to be worse. In this case, it could be
        better, although with all the caveats I just described. And we've seen this
        phenomenon also with Exelixis's RCC dated in the METEOR study and they
        actually showed better activity after immunotherapy than prior.

        And so there you have it -- oh, I will say it's important to note, on OS, while we had
        a numerical median overall survival advantage to binimetinib, it was not
        statistically significant and so that's also going to be an area of discussion with the
        FDA. But many of our patients did receive immunotherapy post treatment and
        generally the view amongst thought leaders is the use of OS in these types of studies
        is very challenging because many patients are going to get immunotherapy
        afterwards in NRAS melanoma which could easily be a compounding effect.

        So I think that will be the crux of the discussion, high unmet need, positive on the
        primary endpoint versus OS score.

        Now, it's not the primary value driver for our franchise but it is an important
        differentiation. We would be the only MEK that has ever been successful in a
        pivotal trial. It's a great way to get introduced or to introduce ourselves to the
        prescribing population, same population that prescribes for BRAF, but it's not the
        value driver. The value driver is really the much, much larger BRAF marketplace
        where the current sales are on a run rate, even assuming no growth of $1 billion
        globally. So that's really the key.
        79.    These statements were materially false and/or misleading because they led

 investors to believe that meeting a primary endpoint of a slight increase of PFS alone would be

 sufficient to support FDA approval of the binimetinib NDA for in use for patients with NRAS-

 mutant melanoma. These statements also led investors to believe that NRAS-mutant melanoma

 was a uniquely aggressive disease requiring unique treatment and that binimetinib would be



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 meeting an unmet need, thus easing the path for NDA approval when in fact NRAS-mutant

 melanoma was not unique and many treatments were available. Squarer mentioned that the ODAC

 meeting would address risk-benefits but omits to address any of the substantial risks related to

 treatment the study data showed decreases in quality of life and performance status, and that, long-

 term prognosis for binimetinib was worse than for dacarbazine. Further, these statements, and

 specifically the statement, “We had a predefined subset analysis of those patients. But we view

 it with caution because it is a subset, but interestingly enough, patients who had received prior

 immunotherapy actually did better. . . Now again, subsets, we think the FDA is going to focus

 on the overall population but it is an interesting guide,” led investors to believe that the NDA

 would be based on the full dataset and failed to disclose that the application would be based on or

 modified to be based on a cherry-picked subpopulation of the study who had received prior

 treatment with IO. In fact, Squarer goes so far as to say that Array will “negotiate the label that's

 perfect for the drug with the FDA” when in fact Array basing the FDA upon an indication solely

 for prior treatment with IO.

              September 14, 2016 – Morgan Stanley Global Healthcare Conference

        80.     At the September 14, 2016 Morgan Stanley Global Healthcare Conference,

 defendant Squarer again promoted binimetinib’s prospects for NDA approval. During the Q&A

 session of the conference call, Array’s executives made the following statements in response to an
 Unidentified Participant’s questions about the results of the NEMO trial, stating in relevant part

 (emphasis added):

        Unidentified Participant:
        So you recently presented data from Phase 3 NEMO. Could you tell us about it on
        binimetinib and run through what happened there?

        Ron Squarer - Array BioPharma Inc. - CEO
        Right. So with binimetinib hit our primary endpoint, improving progression free
        survival in what is a very, very challenging disease. So you go back a couple years,
        from time of diagnosis the median overall survival is about 8.5 months. Now during


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       the course of our study, immunotherapy fortunately has shown quite a bit of
       promise and is now approved and used commonly in that disease offering some
       benefit.

       But once you have exhausted immunotherapy there is really no other good
       treatment, which is why we think it would be important if we have the FDA's
       support to offer a new therapy. And while the majority of our patients were
       studied prior to immunotherapy, we did have a predefined subset of patients that
       received binimetinib after immunotherapy.

       And there the effect size was quite a bit longer in terms of PFS. Now with all the
       caution that it is a subset, although predefined, and that we believe the FDA will
       consider the overall population in assessing provability. It is another example
       where the use of a targeted agent after immunotherapy appears to not be worse.

       Now maybe better; we have seen this also in the METEOR trial with Exelixis and
       renal cell carcinoma. But it is a new paradigm because historically later lines of
       therapy typically offered less activity, less durability. And yet here in a couple of
       large recent trials we see that they may not be true post immunotherapy, even if
       patients don't respond or respond and then their disease returns.

       So we will keep an eye out to see if this trend continues. But it supports our
       contention that whether we get used -- whether our assets, meaning binimetinib or
       encorafenib get used before immunotherapy or after immunotherapy, it may not
       matter. And in both BRAF melanoma and NRAS melanoma, as I said, aside from
       immunotherapy there is really no good choices. So we think they will be used --
       they will all be used.

       Unidentified Participant

       So mechanistically why would the drug have a better result in patients who had IO
       therapy previously versus those who have not?

       Ron Squarer - Array BioPharma Inc. - CEO

       So it is really empiric results at this point. There are certainly hypotheses that
       suggest that the immune system is stimulated and that even if the disease returns
       you still have an enhanced immune function. There is also just the realization that
       [cytotoxis] can be quite damaging to the body systems, can be damaging to the
       immune system. And so, you would expect perhaps less of that in later -- after
       immunotherapy than you would after severe sort of cytotoxic regimens.

       Again speculation, but we will keep looking to see how these data emerge. Even in
       our combination study, the one that we are waiting on this month, we did allow for

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        prior immunotherapy and expect to have some patients that receive prior
        immunotherapy who will have a nice additional look, granted it will be small. And
        so it will have to be viewed carefully. But it would at least offer another point of
        view on that. And we would be the only MEK/RAF that has allowed for prior
        immunotherapy in a pivotal trial. So it could be a point of differentiation if
        helpful.
        81.    These statements were materially false and/or misleading because they concealed

 from investors Defendants’ true intention with respect to the binimetinib NDA. Although Squarer

 discussed the more favorable study data from the prior-immunotherapy subgroup, he concealed
 that Defendants had effectively modified the indication for binimetinib on Array’s NDA. This, in

 turn, severely jeopardized Array’s ability to receive FDA-approval under applicable FDA

 regulations and FDA customs and practice.

                               September 28, 2016 – Form 424B5

        82.    On September 28, 2016, Array filed a Prospectus Supplement on Form 424B5 with

 the SEC announcing the pricing of the above-mentioned public offering of 18,400,000 shares of

 its common stock at a public offering price of $6.25 per share (“Prospectus Supplement”). The

 Prospectus Supplement stated in relevant part (emphasis added):

        NEMO

        NEMO is a Phase 3 study comparing binimetinib versus dacarbazine in
        unresectable or metastatic NRAS-mutant melanoma patients. On September 1,
        2016, Array announced that the FDA had accepted Array's New Drug Application,
        or NDA, for binimetinib in patients with advanced NRAS-mutant melanoma with
        a target action date under the Prescription Drug User Fee Act (PDUFA) of June 30,
        2017. The FDA also indicated that it plans to hold an Oncologic Drugs Advisory
        Committee (ODAC) meeting as part of the regulatory process.

        Activating NRAS mutations are present in approximately 20% of patients with
        metastatic melanoma, and have been a poor prognostic indicator for these patients.
        Treatment options for this population remain limited beyond immunotherapy (PD-
        1, CTLA4). Therefore, if approved, binimetinib could represent an important
        additional therapy for these patients.

        The NDA submission is based on results of the NEMO study, which found
        binimetinib extended median PFS, the study's primary endpoint, as compared

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       with dacarbazine. In the NEMO study, binimetinib extended median PFS at 2.8
       months, as compared with 1.5 months observed with dacarbazine [hazard ratio
       (HR)=0.62 (95% CI, 0.47-0.80), p<0.001] in patients with advanced NRASmutant
       melanoma. In the pre-specified subset of patients who received prior treatment with
       immunotherapy (n=85), including ipilimumab (n=54), and nivolumab or
       pembrolizumab (n=24), patients who received binimetinib experienced 5.5 months
       of median PFS (95% CI, 2.8-7.6), compared with 1.6 months for those receiving
       treatment with dacarbazine (95% CI, 1.5-2.8). While the results in the pre-
       specified sub-group of patients who had received prior treatment with
       immunotherapy are of interest, interpretation beyond overall consistency with the
       primary result should be made with care. Array anticipates that the primary
       consideration for marketing approval will be the results for the primary endpoint
       of the trial.

       In addition to improving PFS, binimetinib also demonstrated significant
       improvement in the secondary endpoints of ORR and disease control rate, or DCR.
       While there was no statistically significant difference demonstrated in overall
       survival, the numerical trend in median overall survival, or mOS, favored the
       binimetinib arm.

       Confirmed ORR was 15 percent (95% CI, 11-20 percent) in patients receiving
       binimetinib vs. 7 percent (95% CI, 3-13 percent) in patients receiving dacarbazine.

          Confirmed ORR for patients who received prior treatment with immunotherapy
           was 16 percent, with a median duration of response of 11.1 months, versus an
           overall response rate for all patients receiving binimetinib of 15 percent, with a
           median duration of response of 6.9 months.

          DCR for patients receiving binimetinib was 58 percent (95% CI, 52-64) vs. 25
           percent (95% CI, 18-33 percent) for patients receiving dacarbazine.

          mOS was estimated at 11.0 months in patients receiving binimetinib vs. 10.1
           months for patients treated with dacarbazine [(HR) = 1.0 (95% CI 0.75-1.33),
           p=0.499].

       Binimetinib was generally well-tolerated and the adverse events reported were
       consistent with previous results in NRAS-mutant melanoma patients. Grade 3/4
       adverse events reported in at least 5 percent of patients receiving binimetinib
       included increased creatine phosphokinase (CPK) and hypertension.

       Following discontinuation of the study treatment, a substantial portion of the
       patients in the study were treated with immunotherapy, including 46% of the
       patients who had received binimetinib in the study and 44% of the patients who had
       received dacarbazine. Specifically, 33% of the former binimetinib patients received

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        ipilimumab, 13% of such patients received nivolumab and 12% of such patients
        received pembrolizumab. Of the former patients who received dacarbazine, 36% of
        such patients received ipilimumab, 9% received nivolumab and 7% received
        pembrolizumab.
        83.     These statements were materially false and/or misleading because they concealed

 the true nature of the NEMO data from investors. While binimetinib met its primary endpoint, the

 entirety of the NEMO data showed decreases in quality of life and performance status and that

 long-term prognosis for binimetinib was worse than for dacarbazine. This information severely

 undermined (if not outweighed) the benefits associated with the slight increase in PFS (the primary

 endpoint). Additionally, Squarer’s statements concealed the fact that Array was attempting to have

 the FDA approve binimetinib for a different indication than the one submitted on the company’s

 NDA; in particular, an indication for post-immunotherapy patients only based upon the more

 favorable data obtained from this patient stratum during the NEMO study. Unbeknownst to

 investors, this substantially increased the risk of the FDA rejecting the NDA.

        84.     On October 3, 2016, Array announced the closing of its underwritten public

 offering of 21,160,000 shares of its common stock, which included 2,760,000 shares of common

 stock issued upon the exercise in full of the option to purchase additional shares granted to the

 underwriters, at a public offering price of $6.25 per share. The total gross proceeds from the
 offering were $132.25 million, before underwriting discounts and commissions and offering

 expenses.

                  November 1, 2016 – First Quarter Earnings Conference Call

        85.     On November 1, 2016, Array had a First Quarter Earnings Conference Call where

 Defendant Squarer stated in pertinent part (emphasis added):


        Now moving on to slide 11, we show the NEMO results that were presented at
        ASCO in June. The study met its primary endpoint, demonstrating a near
        doubling in median progression-free survival for binimetinib when compared to
        dacarbazine in patients with NRAS mutant melanoma. While there was no
        statistically significant difference demonstrated in overall survival, the median


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        overall survival favored the binimetinib arm. Binimetinib was generally well-
        tolerated, and the adverse events reported were consistent with previous
        binimetinib results in NRAS mutant melanoma patients. The grade 3/4 adverse
        events reported in greater than or equal to 5% of patients included increased CPK
        and hypertension. Patients with a metastatic NRAS mutant melanoma have limited
        treatment options beyond immunotherapy, and these patients face poor clinical
        outcomes and high mortality.

        Array was informed in late August that the FDA had accepted the bini new drug
        application for review with a PDUFA date of June 30, 2017. The bini MAA was
        validated and is currently under evaluation by CHMP in Europe.

        86.    With respect to the NRAS melanoma market and the commercial development of

 NEMO, Array’s executives responded to analyst Ted Tenthoff from Piper Jaffray in relevant part

 (emphasis added):

        Ted Tenthoff - Piper Jaffray - Analyst

        Appreciate this update. A lot of things going here. I guess just with respect to
        NEMO and the NRAS melanoma opportunity, presentation in Boston next week,
        what steps are you taking sort of to educate the market ahead of potential approval
        next year? And maybe you can lay out a little bit about how these patients are
        treated today and what preliminary educational efforts have amounted to. Is this an
        area where docs are looking for new therapies for NRAS patients? Or how well-
        known is binimetinib at this point?

        Ron Squarer - Array Biopharma Inc. - CEO

        Great, Ted. Good morning. Thanks for the question. There will be presentations on
        NEMO in NRAS melanoma. But I would say that the much -- perhaps the much
        more important presentation will be in BRAF (multiple speakers) information
        there. But there will be presentations on NRAS as well.

        But the question, of course, is still quite relevant, as we do expect to introduce to
        enter the market with NEMO. First, begin building relationships with key
        prescribers as we await the approval of BRAF melanoma with both the MEK and
        the RAF, and it would be the same prescribing population.

        What I would say about NEMO, which was, as I said, the initial launch, is that
        following immunotherapy, which is emerging now as the current standard of
        care, there are really no good options. And if our filing were to be approved, I
        think that the option of using a MEK would be an important addition to the

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        armamentarium there. And we were pleased, as you are aware, to have studied a
        subset of patients through a prior prescribed subset analysis that had received
        prior immunotherapy. And while we believe that the regulators will be looking at
        our primary endpoint and looking at the totality of the data, it's at least nice to
        have some guidance there.

        87.     These statements were materially false and/or misleading because they led

 investors to believe that meeting a primary endpoint of a slight increase of PFS alone would be

 sufficient to support FDA approval of the binimetinib NDA. Defendants concealed other data

 obtained from the NEMO study that undermined the benefits of meeting the primary endpoint.

 Moreover, although Squarer told investors that the focus of the regulators will be on NEMO’s

 overall data as opposed to the prior-IO subset, he concealed from investors that Array was

 attempting to receive approval for a more narrow indication based upon the data from the prior-IO

 subset only.

                                    November 3, 2016 – 10-Q

        88.     In the 10-Q for the First Quarter ending September 30, 2016, certified and signed

 by Defendants Haddock and Squarer, Array reports the following (emphasis added):

        NEMO

                In September 2016, Array announced that the FDA has accepted its NDA
        for binimetinib in NRAS-mutant melanoma with a target action date under the
        Prescription Drug User Fee Act (PDUFA) of June 30, 2017. Also, the Marketing
        Authorization Application (MAA) for binimetinib submitted by Pierre Fabre was
        validated and is currently under evaluation by the Committee for Medicinal
        Products for Human Use (CHMP). The FDA indicated that it plans to hold an
        advisory committee meeting (ODAC) in the first half of 2017 as part of the review
        process.

               Results from the NEMO trial were presented at the 2016 ASCO Annual
        Meeting. The study met its primary endpoint of improving progression-free
        survival (PFS) compared with dacarbazine treatment. The median PFS on the
        binimetinib arm was 2.8 months, versus 1.5 months on the dacarbazine arm. In the
        pre-specified subset of patients who received prior treatment with immunotherapy,
        including ipilimumab, nivolumab or pembrolizumab, patients who received
        binimetinib experienced 5.5 months of median PFS, compared with 1.6 months for

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        those receiving treatment with dacarbazine. While the results in the pre-specified
        sub-group of patients who had received prior treatment with immunotherapy are
        of interest, interpretation beyond overall consistency with the primary result
        should be made with care. Array anticipates that the primary consideration for
        marketing approval will be the results for the primary endpoint of the trial. In
        addition to improving PFS, binimetinib also demonstrated improvement in overall
        response rate (ORR) and disease control rate. While there was no statistically
        significant difference demonstrated in overall survival (OS), the median overall
        survival (mOS) favored the binimetinib arm. Under the NEMO protocol, and in
        accordance with accepted statistical practice, the subgroup analyses of OS are
        formally conducted only if the key secondary endpoint of OS reached statistical
        significance. Binimetinib was generally well-tolerated and the adverse events
        reported were consistent with previous results in NRAS-mutant melanoma patients.

               Activating NRAS mutations are present in up to 20 percent of patients with
        metastatic melanoma, and are a poor prognostic indicator for these patients.
        Treatment options for this population remain limited beyond immunotherapy, and
        these patients face poor clinical outcomes and high mortality.

        89.     These statements were materially false and/or misleading because they again led

 investors to believe that approval will be based on the entire set of data, and not just the ‘pre-

 specified’ sub-group. Array again repeats that “interpretation beyond overall consistency with the

 primary result should be made with care” while in reality Array was basing the approval for the

 changed indication on this very group. These statements also led them to believe that the PFS, the

 primary endpoint, will be the primary consideration and that that will be enough for approval,

 despite the fact that the NEMO trial had generated data that showed decreases in quality of life

 and performance status, and that, long-term prognosis for binimetinib was worse than for

 dacarbazine.

                   February 9, 2017– First Quarter Earnings Conference Call

        90.     On February 9, 2017, Array had a First Quarter Earnings Conference Call where

 Defendant Squarer stated in pertinent part:
       Now, moving to slide 4, I'd like to provide more detail on our top priority programs,
       binimetinib and encorafenib. It's been a very exciting period for these programs and
       just over the past 12 months we read out top-line results for NEMO in NRAS
       melanoma and filed an NDA. We're preparing for an ODAC meeting as we

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        continue to build our commercial organization so that we're prepared to potentially
        launch binimetinib as soon as possible after our PDUFA date of June 30.

        ...

        On slide 16 we show the NEMO results that were presented at ASCO in June. The
        study met its primary endpoint, demonstrating a near doubling of median
        progression-free survival for bini when compared to dacarbazine in patients with
        NRAS mutant melanoma. Binimetinib was generally well tolerated and the
        adverse events reported were consistent with previous binimetinib results in NRAS
        mutant melanoma.

        Now patients with metastatic NRAS mutant melanoma have limited treatment
        options beyond immunotherapy and these patients face poor clinical outcomes and
        high mortality. The FDA has accepted the binimetinib NDA for review with a
        PDUFA date of June 30th. Array is expecting an ODAC to discuss the risk benefit
        associated with the program during the first half of 2017. The binimetinib MAA
        was validated and is currently under evaluation by CHMP in Europe.
        91.     These statements were materially false and/or misleading because they led

 investors to believe that this clinical data showed that binimetinib was well-tolerated, when in fact,

 the study data showed decreases in quality of life and performance status, and that, long-term

 prognosis for binimetinib was worse than for dacarbazine. They also led investors to believe that

 meeting a primary endpoint of a slight increase of PFS alone would be sufficient to support FDA

 approval of the binimetinib NDA for in use for patients with NRAS-mutant melanoma. Further,
 these statements led investors to believe that the NDA would be based on the full dataset and failed

 to disclose that Defendants were attempting to obtain approval for a narrow indication based upon

 the post-immunotherapy subgroup.

                      March 8, 2017 – Cowen Health Care Conference Call

        92.     At the Cowen Health Care Conference on March 8, 2017, Array acknowledges that

 changes in the market necessitate moving to a post-IO indication and that this approach might

 prove controversial at the ODAC meeting when Squarer states(emphasis added):

        NRAS is a little simpler. First line is clearly immunotherapy. We'd expect targeted
        agents to be used afterwards, potentially in combination as Roche is exploring right


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        now. And that's one of the topics of course that we expect to cover at our ODAC,
        is the line of therapy, given that we studied most patients in first-line, and since
        then, I/O has become standard of care.
        93.     These statements were materially false and/or misleading because, despite

 acknowledging changes in standard of care, they failed to disclose that the application would be

 based on or modified to be based on a cherry-picked subpopulation of the study who had received

 prior treatment with IO and that Defendants were seeking approval for a modified patient

 indication.

   THE TRUTH REGARDING ARRAY’S MATERIAL FALSE AND/OR MISLEADING

         STATEMENTS AND OMISSIONS ARE REVEALED TO THE MARKET

                                  March 19, 2017 – Press Release

        94.     On Sunday, March 19, 2017, Array issued a press release announcing the

 withdrawal of the binimetinib NDA in use for patients with NRAS-mutant melanoma (“March

 2017 Press Release”), stating in relevant part:

        Array BioPharma Inc. (ARRY) today announced that it has withdrawn from the
        U.S. Food and Drug Administration's (FDA) Division of Oncology Products 2 its
        new drug application (NDA) for binimetinib monotherapy for the treatment of
        NRASmutant melanoma, a rare, mutationally-driven subset of skin cancer.

        This action was based on thorough discussions and communications with the FDA,
        including exploration of various paths to approval, and followed the late cycle
        review meeting held with the FDA on Friday, March 17, 2017. Based on feedback
        from the agency, Array concluded that the clinical benefit demonstrated in the
        Phase 3 NEMO clinical trial would not be found sufficient to support approval of
        the NRAS-mutant melanoma NDA.

        Ongoing clinical trials for binimetinib will continue. This action will not impact the
        planned Phase 3 COLUMBUS trial NDA of binimetinib, in combination with
        encorafenib, for the treatment of BRAF-mutant melanoma, which remains on track
        for mid-2017.
        95.     Despite maintaining a “Buy” rating for Array, Suntrust Robinson Humphrey

 Analyst Peter Lawson noted after the press release:



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        While we cannot be sure of the FDA’s reasons we take note of the label change,
        and sample size: The NEMO trial’s endpoint was mPFS in the overall
        population, and the proposed label was for patients with prior checkpoint
        inhibitor therapy. The prior checkpoint subgroup had 57 patients in the binimetinib
        arm and 28 in the dacarbazine control arm, about 20% of the overall trial.

        ...

        While we cannot be sure of the FDA’s reasons we take note of the label change,
        and sample size: The label under consideration was for patients with prior
        checkpoint therapy. The NEMO trial’s primary endpoint was mPFS in the overall
        patient group. The prior checkpoint therapy subgroup in the NEMO trial showed
        directionally positive data (see below) with a median PFS in the binimetinib arm
        (n=57) of 5.5 (95% CI: 2.8-7.6) months compared to the dacarbazine arm (n=28)
        with 1.6 (95% CI: 1.5-2.8). We believe that the issue may have been with trial
        design and proposed label and may not be indicative of an underlying issue with
        the drug.
                                March 20, 2017 – Analyst Article

        96.     This press release was also shortly followed by an article published on Endpoints

 News on March 20, 2017 before the market opened (updated March 21, 2017) entitled “Array

 walks back its FDA pitch on binimetinib, derailing plans for commercial launch.” This article

 discussed how analyst were displeased with Array’s announcement that the clinical benefits shown

 in the Phase 3 Nemo clinical trial would not be sufficient to support approval of Array’s NRAS-

 mutant melanoma NDA, binimetinib. The author pointed out how this announcement was in stark

 contrast with announcements in late 2015 through 2016. The article stated in relevant part:

        Array BioPharma has some explaining to do. Fifteen months after the Boulder, CO-
        based biotech said that it had the data needed for its first approval of binimetinib
        for NRAS-positive melanoma, execs are walking back the application and its plans
        for a launch.

        Michael Schmidt at Leerink was not pleased. He noted:

        While NRAS+ melanoma was only a small value driver for the company, we think
        this comes as a surprise to investors and is a clear setback for the company and
        mgmt.’s regulatory and commercial strategy. Recall, management planned to build
        a commercial infrastructure and visibility with customers this year around the
        launch in NRAS+ melanoma, which would also be in preparation for the planned


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         launch in 2018 of binimetinib/encorafenib in more competitive BRAF+ melanoma,
         which is ARRY’s main value driver.

         It was a much different story back in late 2015 when CEO Ron Squarer said that
         their MEK blocker hit the primary endpoint on progression-free survival, with the
         drug arm registering 2.8 months compared to 1.5 months for a group on
         dacarbazine. It didn’t look like much, but Array said it was plenty to take to the
         FDA.

         In the summer of 2016, though, the biotech also conceded that the drug had not
         significantly improved overall survival. Array has had plenty of ups and downs
         with the drug. Novartis had partnered with the company, but punted the program
         when they executed a big asset swap with GlaxoSmithKline. Pierre Fabry then took
         their spot, but Array held on to US commercial rights.
         97.    PiperJaffray Analyst Edward A. Tenthoff was similarly displeased and in his March

 20, 2017 report wrote, “Following a late cycle review meeting with the FDA on Friday, Array has

 withdrawn the binimetinib NDA in NRAS-mutant melanoma due to efficacy. In the Phase III

 NEMO trial, binimetinib only showed a mPFS benefit of 2.8 months vs. 1.5 months on dacarbazine

 (HR 0.62, p<0.001). Removing binimetinib in NRAS-mutant takes our price target to $12 from

 $15.”

         98.    J.P.Morgan Analyst Anupam Ramawrote in his March 20, 2017 report that on his

 Array valuation he was, “Decreasing our FY17 price target to $9 from $10, on the eliminating

 NRAS melanoma from the model.”

         99.    On this, over the course of two trading days, Array’s common stock price fell from

 $10.56 to $9.13 per share between March 17 and March 21, 2017 on heavy trading.

                          DEFENDANTS ACTED WITH SCIENTER

         100.   Defendants acted with intent to defraud or recklessness when making the above

 statements about the NEMO trial and binimetinib NDA to the public. The following allegations

 demonstrate that Defendants concealed from investors a number of then-existing facts that all

 suggested that the risk of FDA disapproval was far more significant than they portrayed.

         101.   First, Defendants had access to the NEMO trial data. Indeed, Defendants presented


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 the NEMO trial data on no less than three occasions, beginning first with an announcement of

 “top-line” results on December 16, 2015 in a press release, then again on January 14, 2016 at the

 JPMorgan Healthcare Conference, on February 2, 2016 in a press release, on February 2, 2016 in

 the Second Quarter Earnings Conference Call, on February 2, 2016 in the 10-Q, on May 3, 2016

 in press release, on May 4, 2016 in the 10-Q, on June 6, 2016 in a presentation at the ASCO

 Conference, September 26, 2016 in a press release, and a February 9, 2017 First Quarter Earnings

 Conference Call. Defendants discussed the NEMO trial data in great detail on each occasion,

 including in particular Defendant Squarer who discussed the NEMO data during conference calls

 on January 14, 2016, February 2, 2016, June 6, 2016, and February 9, 2017, as well as discussing

 the NEMO results in many other conference calls and press releases. Defendants’ statements to

 the public imply that they had first-hand knowledge of the NEMO data.

        102.    Second, given the fact that Defendants had access to the NEMO trial data,
 Defendants therefore had access to all of the NEMO data—the good data and the bad data. This

 bad data, as evidenced by the European Medicines Agency, created significant problems in terms

 of obtaining approval from the FDA. Defendants knew this based upon their review of the NEMO

 data.To be precise, while the NEMO study met its primary endpoint, binimetinib provided only

 1.3 months of progression-free survival over dacarbazine. And, at that, the 1.3 months of

 progression-free survival provided patients with an extremely poor quality of life. As the EMA

 discussed in the “Balance of benefits and risks” section, “The currently observed 1.32-month

 prolongation in median PFS over dacarbazine, without an improvement in overall survival is not

 considered sufficient evidence of benefit in the proposed patient population. The observed benefit

 does not override concerns regarding the tolerability of binimetinib in the proposed patient

 population and the possible negative impact on the health (+/- quality of life) of these patients.”

 Further, the EMA concluded in the “Recommendation” section that, “Based on the review of the

 data on quality, safety and efficacy, the CHMP consider that the application for Mektovi, in the


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 treatment of adult patients with unresectable or metastatic melanoma, with NRAS Q61 mutation,

 is not approvable since “major objections” have been identified, which preclude a

 recommendation for marketing authorisation at the present time.”

        103.    Approval from the FDA, based upon the NEMO data, was exceedingly unlikely.

 This was so especially given the fact multiple safe and effective immunotherapies were available

 when the NDA was submitted in 2016 (e.g., ipilimumab, approved March 25, 2011;

 pembrolizumab, approved September 4, 2014; nivolumab, approved December 22, 2014; and

 atezolizumab, approved May 18, 2016), thus largely eliminating a clinical rational for approving

 the binimetinib NDA. Moreover, progression-free survival in the NEMO trial was lower (2.8

 months) than in the Phase 2 trial for binimetineb (3.65 months) and, according to a Wells Fargo

 analyst report, the NEMO trial was designed “to demonstrate an approximate doubling of PFS (4

 months) vs. dacarbazine’s historical ~2 months.”

        104.    Third, Defendants not only had access to the NEMO data (good and bad), but were

 aware of its implications as well. Binimetinib was the single most important product for Array

 during the Class Period. The NEMO trial represented Array’s most advanced clinical trial. Thus,

 binimetinib and the NEMO trial provided Array with its most immediate opportunity at obtaining

 FDA approval for commercialization and, in turn, sales revenue. Defendants, accordingly, were

 hyper-focused on the FDA-approval process for binimetinib and not, for instance, distracted by

 any other less advanced product trials. Proof of Defendants’ knowledge of the NEMO data is

 evident from their frequent discussion of the data prior to and during the Class Period.

        105.    Fourth, with knowledge of the NEMO data, Defendants repeatedly told investors

 that the entirety of the NEMO data demonstrated binimetinib’s ability to provide progression-free

 survival and yielded substantial evidence of effectiveness. At the time these statements were made,

 however, the NEMO data was unlikely to support approval by the FDA and that, if FDA approval

 was to be obtained, it would need to be based on a changed indication for binimetinib and


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 consideration of a subgroup of the patient data only, i.e., prior immunotherapy treatment.

        106.    Defendants knew that FDA-approval for an NDA is extremely unlikely when based

 upon a subgroup of patient data, and even more unlikely when the sponsor attempts to alter the

 drug’s indication through a major amendment to the NDA. Indeed, FDA regulations state that “[a]

 major amendment may not include data to support an indication or claim that was not included in

 the original NDA, supplement, or resubmission . . . .” 21 CFR 314.60. Array may have argued that

 the relevant data was already included in the original NDA and therefore should not fall under the

 ban on including “new data to support an indication…not included in the NDA.” However, past

 studies show that the FDA would reject any attempt to reframe the NDA around a post-IO

 indication. Further, even if the FDA were open to changing the revision under the originally

 submitted NDA, there remains the important fact that no drug has ever been approved by the FDA

 on the basis of a subgroup analysis.

        107.    The fact that Defendants attempted to modify binimetinib’s indication and/or rely

 on data from a subgroup for approval shows that they knowingly or recklessly violated FDA

 regulations and, therefore, indicates an intent to mislead. Accordingly, Defendants knew or

 recklessly disregarded the obvious risk that their statements would mislead the investing public as

 to whether the NEMO data would support FDA-approval; specifically, Defendants’ statements

 concerning Array’s reliance on the entirety of the overall NEMO data concealed from investors a

 number of then-existing facts that all suggested that the risk of FDA disapproval was much greater

 than they let on.

        108.    Proof that Defendants attempted to modify binimetinib’s indication and/or rely on

 data from a subgroup for approval is evident from:

        (a)     On September 7, 2016, at the Wells Fargo Securities Healthcare Conference

                Squarer states, “And so what we would assume is that many patients are going to

                receive prior immunotherapy before considering using a MEK and this isn't


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             necessarily going to be driven by a label but by practice. So we'll negotiate the

             label that's perfect for the drug with the FDA, but we think that in practice a lot

             of patients are going to try immunotherapy first.” This showed that Defendants

             were aware that the full data would not be enough to support the original indications

             and that the market was moving towards IO therapy first, thus were preparing to

             use the market trend and the more optimistic data from the post-IO subgroup

             ‘negotiate’ for a ‘label that’s perfect for the drug.’ Effectively, Defendants hoped

             to convince the FDA that a post-IO indication would be the ‘label that’s perfect for

             the drug.’

       (b)   At the Cowen Health Care Conference on March 8, 2017, where Squarer states,

             “NRAS is a little simpler. First line is clearly immunotherapy. We'd expect targeted

             agents to be used afterwards, potentially in combination as Roche is exploring right

             now. And that's one of the topics of course that we expect to cover at our ODAC,

             is the line of therapy, given that we studied most patients in first-line, and since

             then, I/O has become standard of care.” This again shows that Defendants were

             aware that the market had moved towards IO has a primary line of therapy and were

             attempting to use this movement to their benefit at the upcoming ODAC meeting

             where they hoped to ‘negotiate’ with the FDA for a post-IO indication based on the
             data from the post-IO subgroup.

       (c)   In the March 19, 2017 Press Release by Array, Defendants state, “This action was

             based on thorough discussions and communications with the FDA, including

             exploration of various paths to approval, and followed the late cycle review

             meeting held with the FDA on Friday, March 17, 2017. Based on feedback from

             the agency, Array concluded that the clinical benefit demonstrated in the Phase 3

             NEMO clinical trial would not be found sufficient to support approval of the


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             NRAS-mutant melanoma NDA.” The statement “including exploration of various

             paths to approval” indicates that Defendants had tried a different approach that the

             one in the original NDA. These ‘various paths’ including altering the NDA to

             change the indication and focus on the post-IO subgroup data.

       (d)   Suntrust Robinson Humphrey Analyst Peter Lawson noted after the March 19, 2017

             press release by Array, “While we cannot be sure of the FDA’s reasons we take

             note of the label change, and sample size: The NEMO trial’s endpoint was mPFS

             in the overall population, and the proposed label was for patients with prior

             checkpoint inhibitor therapy.” This confirms that there was a change in the label,

             and thus indication, as well as the sample size, to focus on the post-IO subgroup

             data.

       (e)   On March 29, 2017, the FDA’s Notice of Meeting for the March 15, 2017 ODAC

             meeting reads as follows (emphasis added):During the afternoon session, the

             committee will discuss new drug application (NDA) 209099, for binimetinib,

             submitted by Array BioPharma Inc. The proposed indication (use) for this product

             is for the treatment of patients with unresectable or metastatic melanoma, with

             NRAS Q61 mutation as detected by an FDA-approved test, who have received

             prior treatment with checkpoint inhibitor therapy.” This clearly states that the
             indication under consideration includes only patients “who have received prior

             treatment with checkpoint inhibitor therapy,” meaning that the majority of NEMO

             patients, who received binimetinib as first-line therapy, would be ignored for

             purposes of the NDA. The FDA uses language very precisely and would be

             extremely unlikely to have carelessly omitted “or treatment-naïve patients” when

             discussing a potential indication in a public-facing announcement of an advisory

             committee meeting. This reinforces that Defendants were trying to change the NDA


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                  indication.

           109.   Given the weakness of the data and the fact that Defendants attempted to modify

 the indication while the NDA was pending, either Defendants did not intend for the NDA to be

 approved when they submitted it to the FDA or they hoped that the NDA would be approved based

 upon a review of the prior immunotherapy subgroup (which, as alleged above, was entirely

 unorthodox and exceedingly unlikely to occur). In either event, Defendants’ statements about the

 binimetinib NDA were materially misleading because they concealed from investors a number of
 then-existing facts that all suggested that the risk of FDA disapproval was much greater than they

 let on.

           110.   Fifth, Defendants were motivated to conceal the negative binimetinib data for as

 long as possible. Binimetinib was integral to several of Array’s ongoing clinical trials, including

 its “COLUMBUS Phase 3 Study.” Had Defendants disclosed the truth concerning the NEMO data,

 investor sentiment towards other binimetinib trials (including COLUMBUS) would have declined

 precipitously; indeed, investors would have been led to believe (rightly so) that binimetinib was

 not an effective compound and, therefore, a very risky proposition going forward.

           111.   But, by concealing the truth about the NEMO data for as long as they did, Array

 was able to: (i) maintain investor interest in binimetinib; (ii) successfully announce on September

 26, 2016 that the COLUMBUS trial met its primary endpoint amid much fanfare; and (iii) conduct

 a secondary public offering on September 27, 2016 in which it sold 18.4 million shares of common

 stock at $6.25 per share for total proceeds (before expenses) of $108 million. Significantly, during

 the six months prior to Array’s secondary public offering, Array’s stock had been trading between

 $3 per share and $4 per share. In other words, Defendants were able to profit by misleading the

 public in a unique, concrete manner.

           112.   This is especially so considering Array’s accumulated deficit and prospects for

 generating revenue from sales. By the time Array submitted the binimetinib NDA, Array had an


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 accumulated deficit of $801.4 million. Array’s only near-term prospect for generating revenue was

 the commercialization of binimetinib (which, given the truth about the NEMO data, was

 exceedingly unlikely to happen). Second to that was Array’s prospect for gaining approval of its

 combination therapeutic (binimetinib with encorafenib) which was the drug being tested in Array’s

 COLUMBUS trial. While Array announced that COLUMBUS met its primary endpoint on

 September 26, 2016, FDA-approval of Array’s combination therapeutic was still several months

 away (in fact, the NDA for the combination therapeutic was not “accepted for review” until the

 following year on September 12, 2017). Accordingly, to maintain funding for operations during

 the interim, Array conducted the secondary offering. Array would not have been able to conduct

 this offering (or at least at an offering price of $6.25 per share) had Defendants been truthful in

 their descriptions of the NEMO data and prospects for FDA-approval.

                       PLAINTIFFS’ CLASS ACTION ALLEGATIONS

        113.    Plaintiffs brings this action as a class action pursuant to Federal Rule of Civil

 Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise

 acquired Array securities during the Class Period, and were damaged by the alleged corrective

 disclosures. Excluded from the Class are the Individual Defendants herein, the officers and

 directors of Array, at all relevant times, members of their immediate families and their legal

 representatives, heirs, successors or assigns and any entity in which the Individual Defendants

 have or had a controlling interest.

        114.    The members of the Class are so numerous that joinder of all members is

 impracticable. Throughout the Class Period, Array securities were actively traded on over-the-

 counter market. While the exact number of Class members is unknown to Plaintiffs at this time

 and can be ascertained only through appropriate discovery, Plaintiffs believe that there are

 hundreds or thousands of members in the proposed Class. Record owners and other members of

 the Class may be identified from records maintained by Array or its transfer agent and may be


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 notified of the pendency of this action by mail, using the form of notice similar to that customarily

 used in securities class actions. Upon information and belief, these shares are and/or were held by

 thousands if not millions of individuals located geographically throughout the country and possibly

 the world. Joinder would be highly impracticable.

         115.   Plaintiffs’ claims are typical of the claims of the members of the Class as all

 members of the Class are similarly affected by the Individual Defendants’ wrongful conduct in

 violation of federal law that is complained of herein.

         116.   Plaintiffs will fairly and adequately protect the interests of the members of the Class

 and has retained counsel competent and experienced in class and securities litigation. Plaintiffs

 have no interests antagonistic to or in conflict with those of the Class.

         117.   Common questions of law and fact exist as to all members of the Class and

 predominate over any questions solely affecting individual members of the Class. Among the

 questions of law and fact common to the Class are:

        whether the federal securities laws were violated by the Individual Defendants’ acts as

         alleged herein;

        whether statements made by the Individual Defendants to the investing public during the

         Class Period misrepresented material facts about the business and operations of Array;

        whether the Individual Defendants caused Array to issue false and misleading statements
         during the Class Period;

        whether the Individual Defendants acted knowingly or recklessly in issuing false and

         misleading statements;

        whether the prices of Array securities during the Class Period were artificially inflated

         because of the Individual Defendants’ conduct complained of herein; and

         whether the members of the Class have sustained damages and, if so, what is the proper

         measure of damages.


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        118.    A class action is superior to all other available methods for the fair and efficient

 adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

 damages suffered by individual Class members may be relatively small, the expense and burden

 of individual litigation make it impossible for members of the Class to individually redress the

 wrongs done to them. There will be no difficulty in the management of this action as a class action.

          RELIANCE PRESUMPTION: FRAUD-ON-THE-MARKET DOCTRINE

        119.    At all relevant times, the market for Array’s common stock was an efficient market

 for the following reasons, among others:

        120.    During the Class Period, daily trading of Array’s common stock generally ranged

 from just under 1 million shares to just over 3 million shares;

        121.    Array regularly communicated with public investors via established market

 communication mechanisms, including regular disseminations of press releases on the national

 circuits of major newswire services and other wide-ranging public disclosures, such as

 communications with the financial press and other similar reporting services;

        122.    Numerous firms were active market-makers in Array stock at all times during the

 Class Period; and

        123.    Array’s statements concerning Array’s NDA for binimetinib was rapidly reflected

 in and incorporated into Array’s stock price during the Class Period. Furthermore, other

 unexpected material news about Array was rapidly reflected in and incorporated into Array’s stock

 price during the Class Period.

        124.    90.     As a result of the foregoing, the market for Array’s securities promptly

 digested current information regarding Array from all publicly available sources and reflected such

 information in Array’s securities price. Under these circumstances, all purchasers of Array’s

 securities during the Class Period suffered similar injury through their purchase of Array’s

 securities at artificially inflated prices, and a presumption of reliance applies.


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                                          LOSS CAUSATION

         125.    During the Class Period, as detailed herein, Defendants made false and misleading

 statements and engaged in a scheme to deceive the market and a course of conduct that artificially

 inflated the price of Array’s securities and operated as a fraud or deceit on Class Period purchasers

 of Array’s securities by materially misleading the investing public. Later, when Array and the

 Individual Defendants’ prior misrepresentations and fraudulent conduct became apparent to the

 market, the price of Array’s securities materially declined, as the prior artificial inflation came out

 of the price over time. As a result of their purchases of Array’s securities during the Class Period,

 Plaintiffs and other members of the Class suffered economic loss, i.e., damages, under the federal

 securities laws.

         126.    Defendants’ misrepresentations and omissions concealed material information

 about the NEMO trial data and the NDA for binimetinib. Specifically, Defendants hid from

 investors that the NEMO study had produced data that was substantially negative relative to the

 moderate benefit achieved in terms of progress-free survival. Additionally, Defendants concealed

 from investors that, in light of more favorable findings across the prior-immunotherapy subgroup,

 Array was attempting to receive approval for an indication different than the one initially stated.

 This information created a significant risk that the FDA would not approve the binimetinib NDA.

         127.    When Array withdrew its NDA, investors discovered the truth about Defendants’

 statements and, in particular, what the company had attempted to do with respect to the label

 indication for binimetinib. Array’s withdrawal of the NDA revealed to investors that the NEMO

 trial data was insufficient to support approval for the indication initially sought and that, as a result,

 Array had attempted to obtain approval for an alternate indication (the prior-immunotherapy

 subgroup). Had investors known that Array was attempting to secure approval for a modified

 indication, they would have known that the likelihood of FDA approval was exceedingly unlikely.

         128.    The announcement that Array was withdrawing the NDA and consequent


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 revelation about Defendants’ conduct prompted immediate reaction by investors and analysts. The

 price of Array’s common stock dropped precipitously. On March 17, 2017, Array’s stock price

 closed at $10.07 per share. On March 20, 2017, following the Press Release, Array’s stock declined

 to open at $9.46 per share, on higher than usual volume of approximately 15 million shares on

 March 20, 2015 and then an addition 6.5 million on March 21, 2017 to close at $9.13.

    THE SAFE HARBOR AND BESPEAKS CAUTION DOCTRINES DO NOT APPLY

         129.    The statutory safe harbor under the Private Securities Litigation Reform Act of

 1995, which applies to forward-looking statements under certain circumstances, does not apply to

 any of the allegedly false and misleading statements pleaded in this Complaint. The statements

 alleged to be false and misleading herein all relate to then-existing facts and conditions. In addition,

 to the extent certain of the statements alleged to be false may be characterized as forward-looking,

 they were not adequately identified as “forward-looking statements” when made, and there were

 no meaningful cautionary statements identifying important factors that could cause actual results

 to differ materially from those in the purportedly forward-looking statements. Alternatively, to the

 extent that the statutory safe harbor is intended to apply to any forward-looking statements pleaded

 herein, Defendants are liable for those false forward-looking statements because, at the time each

 of those forward-looking statements was made, the particular speaker had actual knowledge that

 the particular forward-looking statement was materially false or misleading, and/or the forward-

 looking statement was authorized and/or approved by an executive officer of Array who knew that

 those statements were false, misleading or omitted necessary information when they were made.

         130.    The Individual Defendants are also liable for any false or misleading forward-

 looking statements pleaded because, at the time each statement was made, the speaker knew the

 forward-looking statement was false or misleading and the forward-looking statement was

 authorized and/or approved by an executive officer of Array and/or Array LLC who knew that the

 statement was false. Alternatively, none of the historic or present-tense statements made by the


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 Individual Defendants were assumptions underlying or relating to any plan, projection, or

 statement of future economic performance, as they were not stated to be such assumptions

 underlying or relating to any projection or statement of future economic performance when made,

 nor were any of the projections or forecasts made by the Individual Defendants expressly related

 to or stated to be dependent on those historic or present-tense statements when made.

                                           FIRST CLAIM

   Violation of Section 10(b) of The Exchange Act and Rule 10b-5 Promulgated Thereunder

                                       Against All Defendants

         131.    Plaintiffs repeat and reallege each and every allegation contained above as if fully

 set forth herein.

         132.    This Count is asserted against all Defendants and is based upon Section 10(b) of

 the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

         133.    During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

 course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,

 practices and courses of business which operated as a fraud and deceit upon Plaintiffs and the other

 members of the Class; made various untrue statements of material facts and omitted to state

 material facts necessary in order to make the statements made, in light of the circumstances under

 which they were made, not misleading; and employed devices, schemes and artifices to defraud in

 connection with the purchase and sale of securities. Such scheme was intended to, and, throughout

 the Class Period, did: (i) deceive the investing public, including Plaintiffs and other Class

 members, as alleged herein; (ii) artificially inflate and maintain the market price of Array

 securities; and (iii) cause Plaintiffs and other members of the Class to purchase Array securities at

 artificially inflated prices. In furtherance of this unlawful scheme, plan and course of conduct, each

 of the Defendants took the actions set forth herein.

         134.    Pursuant to the above plan, scheme, conspiracy and course of conduct, each of the


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 Defendants participated directly or indirectly in the preparation and/or issuance of the quarterly

 and annual reports, SEC filings, press releases and other statements and documents described

 above, including statements made to securities analysts and the media that were designed to

 influence the market for Array securities. Such reports, filings, releases and statements were

 materially false and misleading in that they failed to disclose material adverse information and

 misrepresented the truth about Array’s NEMO study and the prospects for the binimetinib NDA.

        135.    Defendants had actual knowledge of the materially false and misleading statements

 and material omissions alleged herein and intended thereby to deceive Plaintiffs and the other

 members of the Class, or, in the alternative, Defendants acted with reckless disregard for the truth

 in that they failed or refused to ascertain and disclose such facts as would reveal the materially

 false and misleading nature of the statements made, although such facts were readily available to

 Defendants. Said acts and omissions of Defendants were committed willfully or with reckless

 disregard for the truth. In addition, each Defendant knew or recklessly disregarded that material

 facts were being misrepresented or omitted as described above.

        136.    Information showing that Defendant acted knowingly or with reckless disregard for

 the truth is peculiarly within Defendants’ knowledge and control. As the senior officers and/or

 directors of Array, Defendants had knowledge of the details of Array’s internal affairs.

        137.    Defendants are liable both directly and indirectly for the wrongs complained of
 herein. Because of their positions of control and authority, Defendants were able to and did,

 directly or indirectly, control the content of the statements of Array. As officers and/or directors

 of a publicly-held company, Defendants a duty to disseminate timely, accurate, and truthful

 information with respect to Array’s businesses, operations, and financial condition. As a result of

 the dissemination of the aforementioned false and misleading reports, releases and public

 statements, the market price of Array securities was artificially inflated throughout the Class

 Period. In ignorance of the adverse facts concerning Array’s business and financial condition


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 which were concealed by Defendants, Plaintiffs and the other members of the Class purchased

 Array securities at artificially inflated prices and relied upon the price of the securities, the integrity

 of the market for the securities and/or upon statements disseminated by the Defendants and were

 damaged thereby.

         138.    During the Class Period, Array securities were traded on an active and efficient

 market. Plaintiffs and the other members of the Class, relying on the materially false and

 misleading statements described herein, which Defendants made, issued or caused to be

 disseminated, or relying upon the integrity of the market, purchased shares of Array securities at

 prices artificially inflated by Defendants wrongful conduct. Had Plaintiffs and the other members

 of the Class known the truth, they would not have purchased said securities, or would not have

 purchased them at the inflated prices that were paid. At the time of the purchases by Plaintiffs and

 the Class, the true value of Array securities was substantially lower than the prices paid by

 Plaintiffs and the other members of the Class. The market price of Array securities declined sharply

 upon public disclosure of the facts alleged herein to the injury of Plaintiffs and Class members.

         139.    By reason of the conduct alleged herein, Defendants knowingly or recklessly,

 directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

 promulgated thereunder.

         140.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs and
 the other members of the Class suffered damages in connection with their respective purchases

 and sales of Array’s securities during the Class Period, upon the disclosure that Array had been

 disseminating misrepresented financial statements to the investing public.

                                           SECOND CLAIM

       Violation of Section 20(a) of The Exchange Act Against the Individual Defendants

         141.    Plaintiffs repeat and reallege each and every allegation contained above as if fully

 set forth herein.


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         142.   During the Class Period, the Individual Defendants participated in the operation

 and management of Array, and conducted and participated, directly and indirectly, in the conduct

 of Array’s business affairs. Because of their senior positions, they knew the adverse non-public

 information about Array’s operations, finances, and Array’s NEMO study and the prospects for

 the binimetinib NDA.

         143.   As officers and/or directors of a publicly-owned company, the Individual

 Defendants had a duty to disseminate accurate and truthful information with respect to Array’s

 finances, operations and press releases, and to correct promptly any public statements issued by

 Array which had become materially false or misleading.

         144.   Because of their positions of control and authority as senior officers and/or,

 directors, and/or controlling shareholders, the Individual Defendants were able to, and did, control

 the contents of the various reports, press releases and public filings which Array disseminated in

 the marketplace during the Class Period concerning Array’s sources of revenues, products,

 finances, Array’s NEMO study and the prospects for the binimetinib NDA. Throughout the Class

 Period, the Individual Defendants exercised their power and authority to cause Array to engage in

 the wrongful acts complained of herein. The Individual Defendants therefore, were “controlling

 persons” of Array within the meaning of Section 20(a) of the Exchange Act. In this capacity, they

 participated in the unlawful conduct alleged which artificially inflated the market price of Array
 securities.

         145.   Each of the Individual Defendants, therefore, acted as a controlling person of Array.

 By reason of their senior management positions and/or being directors or controlling shareholders

 of Array, each of the Individual Defendants had the power to direct the actions of, and exercised

 the same to cause, Array to engage in the unlawful acts and conduct complained of herein. Each

 of the Individual Defendants exercised control over the general operations of Array and possessed

 the power to control the specific activities which comprise the primary violations about which


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 Plaintiffs and the other members of the Class complain.

        146.    By reason of the above conduct, the Individual Defendants are liable pursuant to

 Section 20(a) of the Exchange Act for the violations committed by Array.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

        (a)    Determining that this action is a proper class action, certifying Plaintiffs as class

               representative under Rule 23 of the Federal Rules of Civil Procedure and Plaintiff’s

               counsel as Class Counsel;

        (b)    Awarding compensatory damages in favor of Plaintiffs and the other Class

               members against all Defendants, jointly and severally, for all damages sustained as

               a result of the Defendants’ wrongdoing, in an amount to be proven at trial, including

               interest thereon;

        (c)    Awarding Plaintiffs and the Class their reasonable costs and expenses incurred in

               this action, including counsel fees and expert fees; and

        (d)    Such other and further relief as the Court may deem just and proper.




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                                 JURY TRIAL DEMANDED

       Plaintiffs hereby demand a trial by jury.


 Dated: April 26, 2018                                  BERENS LAW LLC

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                                 CERTIFICATE OF SERVICE

        I, Jeffrey A. Berens, an attorney, hereby certify that on April 26, 2018, I caused a true and

 correct copy of the foregoing “CONSOLIDATED CLASS ACTION COMPLAINT FOR

 VIOLATIONS OF THE FEDERAL SECURITIES LAWS AND JURY TRIAL DEMAND” to be

 filed with the Clerk of the Court using the CM/ECF system, which will send notification of such

 filing to the email addresses denoted on the Electronic Mail Notice List.

        I certify under penalty of perjury that the foregoing is true and correct. Executed on April

 26, 2018.
                                              /s/ Jeffrey A. Berens           .
                                              Jeffrey A. Berens
